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                              Exhibit 10
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                                                                U.S. Department of Justice
                                                                Office of Information Policy
                                                                Sixth Floor
                                                                441 G Street, NW
                                                                Washington, DC 20530-0001

    Telephone: (202) 514-3642


                                                                May 7, 2021

    Brian Huddleston
    704 Nickelville Lane                                 Re:    FOIA-2020-01319
    Wylie, TX 75098                                             20-cv-00447 (E.D. Tex.)
    brianhudd@gmail.com                                         VRB:JMB:BPF

    Dear Brian Huddleston:

           This is a final response to your FOIA request, dated and received in this Office on June
    5, 2020, in which you requested records of the Special Counsel’s Office (SCO) concerning
    Seth Rich, Aaron Rich, and the alleged hacking of servers associated with the Democratic
    National Committee.

           Because certain law enforcement materials located by this Office contain equities of the
    FBI, we have referred those materials to the FBI for processing and direct response to you.

            On April 8, 2021, OIP sent an interim response to you. OIP has now processed an
    additional 179 pages containing records responsive to your request. I have determined that 121
    of these pages are appropriate for release with information withheld pursuant to Exemptions 3,
    5, 6, 7(C), 7(D), and 7(E) of the FOIA, 5 U.S.C. §§ 552(b)(3), (b)(5), (b)(6), (b)(7)(C),
    (b)(7)(D), and (b)(7)(E), and copies are enclosed. Additionally, I have determined that fifty-
    eight pages should be withheld in full pursuant to FOIA Exemptions 3, 5, 6, 7(C), and 7(E).
    Please note that the enclosed pages also contain records that are not responsive to your request.
    Those records have not been processed and are marked accordingly.

             Exemption 3 pertains to information exempted from release by statute (in this instance,
    Rule 6(e) of the Federal Rules of Criminal Procedure). Exemption 5 pertains to certain inter-
    and intra-agency communications protected by the attorney work-product and deliberative
    process privileges. Exemption 6 pertains to information the release of which would constitute
    a clearly unwarranted invasion of personal privacy. Exemption 7(C) pertains to records or
    information compiled for law enforcement purposes, the release of which could reasonably be
    expected to constitute an unwarranted invasion of the personal privacy. Exemption 7(D)
    pertains to records or information compiled for law enforcement purposes, the release of which
    would disclose the identity of a confidential source. Finally, Exemption 7(E) pertains to
    records or information compiled for law enforcement purposes, the release of which would
    disclose certain techniques and procedures or guidelines for law enforcement investigations or
    prosecutions.
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            Information appearing within the Report on the Investigation into Russian Interference
    in the 2016 Presidential Election, Volume I (March 2019) is responsive to your request. You
    may locate Volume I of this Report here: https://www.justice.gov/storage/report_volume1.pdf.

            For your information, Congress excluded three discrete categories of law enforcement
    and national security records from the requirements of the FOIA. See 5 U.S.C. § 552(c)
    (2018). This response is limited to those records that are subject to the requirements of the
    FOIA. This is a standard notification that is given to all our requesters and should not be taken
    as an indication that excluded records do, or do not, exist.

           If you have any questions regarding this response, please contact Andrea Parker of the
    United States Attorney’s Office for the Eastern District of Texas, at 409-981-7938.

                                                                 Sincerely,



                                                                 Jonathan Breyan
                                                                 Senior Supervisory Attorney
                                                                 for
                                                                 Vanessa R. Brinkmann
                                                                 Senior Counsel

    Enclosures
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                                                                                                    1




                               EXECUTIVE SESSION

                               COMMITTEE ON THE J UDICIARY,

                               J OINT WITH THE

                               COMMITTEE ON GOVERNMENT REFORM AND OVERSIGHT,

                               U. S. HOUSE OF REPRESENTATIVES,

                               WASHINGTON, D. C.




                               INTERVIEW OF:     J AMES COMEY




                                                    Fri day, December 7, 2018



                                                        Washi ngton, D. C.



                                    The i ntervi ew i n the above matter was held i n Room 2141,

                               Rayburn House Offi ce Bui ldi ng, commenci ng at 10: 12 a. m.

                                    Members Present: Representati ves Goodlatte, Issa, Ki ng,

                               Gohmert, J ordan, Buck, Ratcli ffe, Gaetz, Bi ggs, Nadler, J ackson

                               Lee, Cohen, Deutch, Bass, Gowdy, Sanford, Meadows, Hurd,




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                                                                                                2




                               Cummi ngs, Cooper, Kri shnamoorthi , Gomez, and Plaskett.




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                            Not Responsive Records




                                    Mr. Cohen.   When you were at the FBI, di d you have any reason

                               to i nvesti gate the people who propagated stori es that Seth Ri ch




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                               was murdered by folks wi thi n the DNC or other democrati c

                               operati ves or any of the people that talked about thi s pi zza

                               operati on, the pi zzagate thi ng?    Di d you ever i nvesti gate the

                               people that started those conspi ratori al stori es?

                                    Mr. Comey.    I don' t remember.    I don' t remember

                               i nvesti gati ons on those topi cs.   I remember at one poi nt

                               recei vi ng an emai l from someone, a pri vate ci ti zen, to my

                               personal account, rai si ng i ssues about the - - i s i t Pi ng Pong?

                               Whatever the pi zza place was that was i nvolved i n some conspi racy

                               theori es.   I remember sendi ng i t to my staff sayi ng, make sure

                               thi s gets to the appropri ate place, but I don' t know whether there

                               were i nvesti gati ons.
                             Not Responsive Records




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                                                                           In The
                                                United States Court of Appeals
                                                            for the Third Circuit

                                                                         18-1816
                JACOB CORMAN IN HIS OFFICIAL CAPACITY AS MAJORITY LEADER OF THE
                  PENNSYLVANIA SENATE; MIKE FOLMER; IN HIS OFFICIAL CAPACITY AS
                    CHAIRMAN OF THE PENNSYLVANIA STATE SENATE GOVERNMENT
               COMMITTEE; LOU BARLETTA; RYAN COSTELLO; MIKE KELLY; TOM MARINO ;
              SCOTT PERRY; KEITH ROTHFUS; LLOYD SMUCKER; GLEN THOMPSON; JEFFREY
                                             CUTLER
                                                                                 v.

               SECRETARY COMMONWEALTH OF PENNSYLVANIA; COMMISSIONER BUREAU
                           OF COMMISSIONS, ELECTIONS & LEGISLATION

                 CARMEN FEBO SAN MIGUEL; JAMES SOLOMON; JAMES GREINER; JOHN
               CAPOWSKI; GRETCHEN BRANDT; THOMAS RENTSCJILER; MARY ELIZABETH
                LAWN; LISA ISAACS; DON LANCASTER; JORDI COMMAS; ROBERT SMITH;
              WILLIAM MARX; RICHARD MANTELL; PRISCILLA MCNULTY; THOMAS ULRICH;
                      ROBERT MCKINSTRY; MARK LICHTY; LORAINE PETROSKY
                                                                (Intervenors in District Court)

                                                                    JEFFREY CUTLER,
                                                                        Appellant
                      Appeal from the Order/Judgment entered April 10, 2018 in the United States District
                              Court for the Middle District ofPennsylvania at No. 1-18-cv-00443
                                                             BRIEF AND APPENDIX
                                                           Volumes I of II (Pages 1a-34a)
                                                                     JEFFREY CUTLER
                                                                     P.O. Box 2806
                                                                     York, PA 2806
                                                                     (215) 872 5715
                                                                     Pro Se Appellant
             _____________________________________________________
             Wright Appellate Services, LLC                                                           0521
             (215) 733 9870 · (800) 507 9020 · Fax (215) 733 9872
                                                                             i




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                                       STATEMENT OF SUBJECT MATTER
                                        AND APPELLATE JURISDICTION

                      The United States District Court had subject matter jurisdiction pursuant to 18

                          U.S.C. § 3231, which confers upon the district courts original

                          jurisdiction over all offenses against the laws of the United States.

                          Appellate jurisdiction is conferred upon the Court of Appeals for the

                          Third Circuit by 28 U.S.C. § 1291 and U.S.C. 18 U.S.C. § 3742(a).

                      The District Court imposed a decision on March 19, 2018, with the judgment

               officially entered that same day. (AA5-28; DDE ## 136, 137).1 Appellant Jeffrey Cutler

               complied with Rule 4(b)(1) of the Federal Rules of Appellate Procedure by filing a timely

               Motion to Reconsider and Intervene on April 3, 2018, however the court omitted page 3

               during scanning (AA396-397). The court corrected the document on April 9, 2018

               (AA561-570), and rendered a decison on April 10, 2018. Notice of Appeal was filed on

               April 12, 2018 (AA1-2; DDE # 141) and a corrected appeal on April 17, 2018. (AA3-4;

               DDE # 143).

                                         STATEMENT OF RELATED CASES

                      Appellant believes USCA case #17-2709 currently pending before this Court is

               directly related to this appeal, and case #5:17-cv-05025 in the eastern district of
                      1
                             “AA” refers to the Appellant’s Appendix filed with this brief. “DDE #”

               refers to the district docket entry and corresponding entry number.

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                      Pennsylvania are both related to this case. Case # CI-17-01626 Lancaster

               County court of Common Pleas, was also aimed at setting a precedent in altering the

               Pennsylvania Constitution by Judicial Decree. Case # 3:17-cv-02692 from the

               Northern District of Texas, and case # 1:16-cr-10233-RGS Massachussetes, both

               involve FBI misconduct. Case # 3:12-cr-00034-CWR-FKB involves the KLU

               KLUX KLAN or copycat behavior.


                                      STATEMENT OF THE ISSUE ON APPEAL

                         1. Whether the remedy imposed by the Supreme Court of Pennsylvania,
                            which clearly violates the Pennsylvania Constitution and creates a
                            precedent that allows any part of the constitution be circumvented in
                            10 days without any notice being afforded to voters or the public, and
                            was substantively unreasonable because it exceeded the necessary to
                            satisfy the goals set forth in 18 U.S.C. §3553(a) and violates the
                            United States Constitution Amendment 1. The Public Interest Law
                            Center claims this case is based soley on state constitutional grounds
                            and not perjured testimony.

                             Standard of Review: Appellate courts review sentencing challenges
                             under the abuse of discretion standard. Gall v. United States, 552 U.S. 38
                             (2007).

                             Preservation of Issue: Mr. Cutler opposed the government’s request for
                             a remedy that allows the court to Ammend the Pennsylvania Constitution
                             in effectively 10 days based on perjured testimony.


                             The courts have affirmed, it must “afford a liberal reading to a
                             complaint filed by a pro se plaintiff,” particularly when the plaintiff
                             has no formal legal training or education. Klayman v. Zuckerberg, 753
                             F.3d 1354, 1357 (D.C. Cir. 2014); see also Erickson v. Pardus, 551
                             U.S. 89, 94 (2007) (“A document filed pro se is to be liberally
                             construed, and a pro se complaint, however inartfully pleaded, must be
                             held to less stringent standards than formal pleadings drafted by
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                             lawyers.”

                                         STATEMENT OF THE CASE

                         Jeffrey Cutler appeals the remedy imposed by the Pennsylvania

                 Supreme court which allows a process that minimally is described by the

                 Pennsylvania constitution at a minimum of 90 days, during 2 seperate

                 sessions. Mr. Cutler respectfully submits that under the facts and

                 circumstances specific to this case, the final remedy was significantly

                 greater more intrusive than necessary to achieve the statutory purposes of

                 case, and was therefore substantively unreasonable.

                 Furthermore, the remedy created an unwarranted disparity in law in

                 contravention of 18 U.S.C. § 3553(a), and violates the United States

                 Constitution Amemdment 1.

                            A. The Offense

                      Mr. Cutler was elected to public office in November 2013. He was

                 subsequently removed from office based on a single-count Complaint in

                 Mandamus with violating the local tax collector law, and was removed from office

                 based on a two hour hearing based on perjured testimony. The incident took place

                 on March 17, 2017 in the court of common pleas by Judge Margaret Miller,

                 ordering his mail be redirected and bank accounts seized in violation of federal

                 law.
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                      Prior to this incident, Mr. Cutler after taking his required oath office to

                 defend the constitution of the United States and Commonwealth of

                 Pennsylvania, had tried to overturn the affordable care act because he felt it

                 violated the establishment clause of the United States constitution Amendment

                 1. He had hired the American Freedom Law Center to assist him in the appeal

                 of this effort. Mr. Cutler had filed an original lawsuit in Washington, DC on

                 December 31, 2013 Pro Se (1:13-cv-2066). Mr. Cutler had gotten into a verbal

                 altercation with a township about being elected, and was urged to resign, the

                 position he was legally elected in November of 2013. By January 9, 2014, East

                 Lampeter Township solicitor had sent a threat of legal action for getting legally

                 elected. Mr. Cutler contracted the Fulton Bank to accept payments at any of the

                 over 80 state branches, just like the Conestoga Valley School system. Mr.

                 Cutler deputized the Conestoga Valley School system to collect the school

                 sytem taxes for East Lampeter Township, since they had an employee in place

                 to perfrom this activity and the other two townships that use the Conestoga

                 Valley School system were not part of East Lampeter Township. Mr. Cutler

                 continued to perform the duties required of the position and was continually


                 2 Mr. Cutler was never convicted of any crime and attempted to clear his name and
                 recover assets seized by court order, and found not a single lawyer would assist
                 him. Mr. Cutler had reported crimes to the FBI and had been directed to cease and
                 desist reporting crime, by email of the FBI (AA118).


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                 harraseed by East Lampeter Township and they filed action in Mandamus on

                 June 9, 2015 (case # CI-15-05424) on three counts, but 2 of the counts were

                 removed by stipulation. The action in Common Pleas court, caused Mr. Cutler

                 to try and defend his reputation. The solicitor of East Lampeter Townsip

                 supported perjured verification of Ralph Hutchinson and Mail Fraud. Mr.

                 Cutler believes his lawyer Drew Deyo was bribed or coerced into throwing the

                 case, and committed legal malpractice. Mr. Deyo complained about the FBI

                 harrasing him. Evidence of East Lampeter Township using bribes or payments

                 to coerce false testimony had been discoveed previously during discovery and

                 trials involving Lisa Michelle Lambert. The malicious prosecution of a crime

                 that did not happen, via Mandamus action violates the very foundations of the

                 justice system. The fact that they felt compelled to not only ruin Mr. Cutler’s

                 reputation and life, but had to make sure he knew it was because he was born

                 Jewish by keying a SWASTIKA on his minivan. Mr. Cutler was aware that

                 KLU KLUX KLAN existed in Lancaster County, but since he chose to not

                 openly display signs of being Jewish he felt reasonably safe. There were stories

                 in the Lancaster newspaper that Jewish families were being threatened and

                 harrased and fled Lancaster county. Mr. Cutler had an incident at a

                 McDonald’s where Lancaster city police were called to evict him for criminal

                 tresspass from the site and inform him he was not allowed at any McDonald’s

                 owned by the same franchise, in perpetuity. His alledged infraction was he


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                 allegdedly said something that was heard by an employee. Mr. Cutler

                 purchased 10 shares of McDonald’s stock and wrote a priority mail letter to the

                 corporate headquarters and CEO. He informed the CEO he would file an action

                 in Federal court. The corporation informed the franchise, and Mr. Cutler and

                 the franchise resolved the problem and no action was required in court, and no

                 compensation was paid.

                        Mr. Cutler sent out tax bills using the same printer as used by the Conestoga

                 Valley School system, but was not paid for the postage and printing as required

                 by law. The data for the tax bills was supplied by the office of the Lancaster

                 County Treasurer (Craig Ebersole at the time). Mr. Cutler was never fully

                 compensated for the postage and printing, but after a 1 year delay based on emails

                 and letters from the solicitor of East Lampeter Township, was paid half the

                 amount spent for the service. Mr. Cutler accepted a contract engineering support

                 position for Harley Davidson in York, Pennsylvania at night to supplement his

                 revenue. His lawsuit challenging the affordable care act progressed in court at the

                 same time he was doing both collectimg taxes and supporting the Harley Davidson

                 plant in York, PA. The data provided by the office of the treasurer contained

                 approximately 175 exempt properties (such as churches), which required a

                 significant amount of time to correct. Mr. Culer’s interface to the funds collected

                 was reports provided by Fulton Bank, via internet access. He also was required to

                 enter the tax data on the Lancaster county progam know as “MrETC”, via the



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                 internet. During this time Mr. Cutler experienced at least one period where his

                 internet “IP”address was blocked from access to the Lancaster county system

                 “MrETC”. After a verbal altercation with the treasurer (Craig Ebersole), the IP

                 access was restored. At the same time Mr. Cutler’s case in district court

                 progressed and Kimberly Herr of the United States justice department of Justice

                 contacted him about an extension of time to respond to case 1:13-cv-02066. Mr.

                 Cutler prepared a response opposing the motion for extended time, and travelled to

                 Washington, DC to deliver the response (Mr. Cutler does not have CM/ECF

                 access to the federal courts). Mr. Cutler discovered during his trip to Washington,

                 DC that judge (Colleen Kollar-Kotelly) had granted the extension without even

                 seeing Mr. Cutler’s response. This was Mr. Cutler’s first hard example of un-

                 equal justice. Case 1:13-cv-02066 was dismissed for lack of standing and Mr.

                 Cutler filed an appeal in the United States Court of appeals in Washington, DC

                 (case # 14-5183), and paid cash at the time of the appeal. Despite paying cash for

                 the appeal, the United States Court sent Mr. Cutler a notice requesting payment or

                 declaration of paupris. Mr. Cutler went to Washington, DC and filed a motion to

                 continue with a copy of the receipt. Mr. Cutler believing the court system was

                 essentially rigged against pro se litigants sought assistance from any competent

                 lawyer. Mr Cutler was able to induce the American Freedom Law Center to assist

                 him, by making a large donation (over $ 75,000). His goal was very similar to

                 their objective, based on cases they had in federal court. They performed very



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                 well and took the appeal all the way to the Supreme Court (15-632) (AA130). On

                 May 12, 2015 oral arguments were held in Washington, DC in front of a three

                 judge panel. Mr. Cutler had purchased a roundtrip ticket at an Amtrak terminal

                 that morning with an American Express card in Baltimore Penn Station. On the

                 return trip home Mr. Cutler recieved a phone call from his brother about a Amtrak

                 crash and wanted to know if he was safe. Amtrak 188 had gone off the tracks in

                 Philadelphia, and killed 8 people. NBC sought out and interviewed a Jeffrey

                 Cutler about the crash. That Jeffrey Cutler was not the same Jeffrey Cutler, but

                 that Jeffrey Cutler had purchased a reserved seat on that Amtrak 188. One of the

                 people killed was a midshipman of the United States Naval Acadamy (Justin

                 Zemser), and thus his murder would be subject to the laws of the United States

                 government. Mr. Cutler became aware the locomotive involved in the accident

                 had a feature that allowed some control via the internet, yet this has not been

                 examined or noted in public.

                       On June 10, 2015 East Lampeter Township filed an action in Mandamus

                 against Mr. Cutler in Common Pleas Court (CI-15-05424). On June 30, 2015 Mr.

                 Cutler filed a civil action against East Lampeter Township, pro se for violations of

                 the sunshine law and to force them to pay expenses of the Tax Collector (CI-15-

                 05682) and other remedies.

                       On August 14, 2015 (AA80,98) the United States Court of appeals for the DC

                 circuit granted Mr. Cutler standing to challenge the affordable care act based on



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                 the establishment clause of the United States constitution. On December 10, 2015

                 East Lampeter Township filed a petition for an injunction to remove Mr. Cutler

                 from office, bassed on perjured testimony and mail fraud in the court of common

                 pleas. Judge Jeffrey Wright did not allow Mr. Cutler to be present in the hearing,

                 and issued an order which Mr. Cutler complied, even though one part of the

                 complaint was not relevent. On November 11, 2015 an 89 page petition was filed

                 in the Supreme Court case 15-632 by the American Freedom Law Center on

                 behalf of Mr. Cutler. On January 11, 2016 the Supreme Court announced it will

                 decline to hear the case, even though the United States Government declined to

                 respond to the petition. Also on January 11, 2016 two state police officers were

                 waiting for Mr. Cutler near the entrence to his apartment complex. They claimed

                 they followed Mr. Cutler the 1.1 miles he drove after leaving a resturant where

                 Mr. Cutler consumed less than ten dollars worth of beer. They administered a

                 field sobriety test, and Mr. Cutler registered a .05 blood alcohol level. Despite

                 being under the legal limit they handcuffed Mr. Cutler, and transported him to

                 Lancaster General Hospital. At the hospital they drew blood and Mr. Cutler

                 requested they take an extra vial for his testing, but they refused. Lancaster

                 General Hospital sent Mr. Cutler a bill for drawing blood of two hundred dollars.

                 They also confiscated Mr. Cutler’s driver’s license. This required Mr. Cutler to

                 get a duplicate driver’s license. At the Pennsylvania DMV, they had no record

                 that any possible DUI was in progress, or had occured. On January 20, 2016



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                 Judge Wright issued an order to assign the case to Judge Margaret Miller,

                 violating the rules of the court. They elected a new treasurer, and she (Amber

                 Green) took office in January 2016. The Lancaster County Treasurer also

                 changed the software to record tax payments. The software had numerous

                 problems. On March 17, 2016 there was hearing with Judge Miller in common

                 pleas court for case # CI-15-05682. Judge Miller had been assigned to the case #

                 CI-15-05682, despite a request for Judge Wright for continuity. Judge Brown was

                 assigned to the case # CI-15-05682 by random assignment, and then Judge Miller

                 was assigned to the case, because of alleged conflict. Judge Miller dismissed case

                 # CI-15-05682. within minutes of the hearing termination. Mr. Cutler stopped by

                 the office of the FBI in Newtown Square in May of 2016 with documentation of

                 misconduct by East Lampeter Township/Lancaster County identifying

                 approximately 35 items. Mr. Cutler talked to an FBI agent for approximately 2

                 hours, and offered a hard copy of the documents but the FBI agent declined to take

                 the hard copy of the documents. Mr. Cutler had also notified the treasurer’s

                 office of these problems. Some of the entries he had made in the payment of tax

                 payments had been erased or not calculated correctly. In June of 2016 Mr. Cutler

                 was notified of a hearing in common pleas court for case # CI-15-05424. Mr.

                 Cutler requested that his lawyer Drew Deyo subpoena people to the hearing, Mr.

                 Deyo refused. Mr. Cutler advised Mr. Deyo he is not authorized to represent him

                 unless the action is approved in writing. Mr. Cutler started acting pro se in case #



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                 CI-15-05424. He requested several motions and they were all denied by Judge

                 Miller. He filed a move to Federal court middle district of Pennsylvania as case #

                 1:16-cv-1159 for Lancaster county court case CI-15-05424. Mr. Cutler had

                 inserted the entire 89 page petition for the Supreme court in the case. It was

                 dismissed and remanded back to Common pleas court, however Mr. Cutler filed a

                 STOP order in court of Common pleas, which was ignored by Judge Miller. Judge

                 Miller held a hearing on June 17, 2016 (AA186, 188) even though the STOP order

                 was in place. During the hearing they acknowledged that they never notified Mr.

                 Cutler of the hearing, and violated due process. Mr. Cutler filed an appeal in

                 federal court United States Court of Appeals for the third circuit for case # 1:16-

                 cv-1159 as case # 16-3164. Mr. Cutler was notified by text message supposedly

                 by his mother’s land line (which is impossible), that Seth Rich had been murded in

                 the hospital. Mr. Cutler called the Rabbi that gave the eulogy at Seth Rich’s

                 funeral. Mr. Cutler also mentioned Seth Rich in a filing in case 16-3164 (On

                 August 16, 2016 Seth Rich is mentioned in the filing in Philadelphia United States

                 Court of Appeals for the Third Circuit case 16-3164). The owner of the Best Cake

                 bakery on Haverford Avenue in Philadlephia was shot during a robbery. This

                 bakery is near Mr. Cutler’s mother’s house and Mr. Cutler would stop there to

                 purchase bread for his mother when visiting her. Seth Williams (the elected

                 district attorney of Philadelphia at the time) held a rally to try and find the

                 individuals that shot the baker in front of the store. Several police and other



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                 representatives of the Philadelphia District Attorney’s office were present. Mr.

                 Cutler met Seth Williams for the first time, and Jan McDermott an assitant district

                 attorney. Mr. Cutler offered both Mr. Williams and ADA McDermott a T-SHIRT

                 he had created in memory of his case in Federal Court. ADA McDermott

                 accepted the TSHIRT. On August 9, 2016 Mr. Cutler attended a rally for Mr.

                 Trump for president that Mike Pence attended at the Host Farm in Lancaster, PA.

                 Mr. Cutler was one of four people to speak, and gave one of his T-SHIRTS to

                 Mike Pence, who is now the Vice President of the United States. Another speaker

                 talked about the “Right To Try” for experimental drugs and that has since become

                 law. (https://www.youtube.com/watch?v=BdlZkt1Xlhs) Case 16-3164 was denied

                 and Mr. Cutler filed for an Enbanc review that was also denied on Nov 10, 2016.

                 Mr. Cutler sought a way to keep the case alive without filing a new petition to the

                 Supreme Court. He filed motions to join cases, including a case involving the

                 recount in Pennsylvania, by Jill Stein in the Eastern District of Pennsylvania

                 (2:16-cv-06287). Mr. Cutler also filed motions in case 5:16-cv-04108 on

                 December 23, 2016. This case involves another victim of Judge Miller and

                 massive civil rights violations. He was held over 41 months at the time without

                 trial, had zero representation in federal court, and used verbage to deny his release

                 that asserts he failed to use his state appeals, even though he never even had a trial.

                 Mr Cutler believes these are all related cases. Mr. Cutler discovered during this

                 process and by the rules of the court he probaly prevented Jill Stein from mounting



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                 any appeal, because Mr. Cutler’s case had been through the entire Enbanc process,

                 and only an emergency appeal to the Supreme Court would have any merit. Mr.

                 Cutler also discovered during this process that other cases for incorrect jurisdiction

                 were routinely transfered to the Eastern District of Pennsylvania. Mr. Cutler has

                 no formal legal training. Mr. Cutler started sending hard copies and emails to

                 ADA McDermott of misconduct in Lancaster county, just in case he became dead

                 unexpectedly. He did this based on Mr. Williams prosecution of Kermit Gosnel,

                 and his willingness to take on the cases of officials taking bribes on camera. On

                 January 30, 2017 Jeffrey Cutler got an email reply from FBI agent Joesph A.

                 Milligan that stated “Cease and desist adding myself and ADA McDemott to any

                 more of your emails regarding this matter.” (AA118) Note: Spelling error of

                 McDemott which should be McDermott. This email was based on an email from

                 Jeffrey Cutler the same day with a title “CONSPIRACY TO COMMIT BANK

                 AND INSURANCE FRAUD”(AA118). Less than 60 days later Seth Williams

                 was indited on corruption charges March 21, 2017. Mr. Cutler attended some of

                 the trial and the FBI was presentening evidence trivial evidence that Mr. Williams

                 would withdraw money from the ATM, and not care about a two dollar charge.

                 Mr. Cutler also tried to intervene in the case, and filed motions for the case and

                 show prejudice by the FBI including the cease and desist email (2:17-cr-00137).

                 Mr. Cutler became aware that Seth Williams may be starting a grand jury to

                 investigate the Murder of Jonathan Luna on November 4, 2003. On February 23,



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                 2017 the East Lampeter Solicitor had a meeting to appoint the Lancaster County

                 Treasurer (Amber Green - even though it has now been published she failed to

                 have a surety bond and was collecting taxes illegally) to collect real estate taxes in

                 2017, and this was aproved by the same day at a 7:00 AM meeting. Mr. Cutler

                 attended the meeting but it ended when he started speaking. On March 3, 2017

                 Jeffrey Cutler filed a new federal lawsuit (2:17-cv-00984) against Amber Green et

                 al., which is the basis of USCA case #17-2709. On March 7, 2017 Brian Hurter

                 signed a verification which essentially claimed Mr. Cutler failed to turn in $

                 90,000.00 (AA122). Yet on March 17, 2017, he testified under oath that neither

                 he or anyone that worked for him ever audited a single record of the Lancaster

                 County Treasurer. Based on court records Judge Miller filed an order on March 7,

                 2017 that allowed Mr.Cutler’s lawyer to withdraw effective March 10, 2017. Mr.

                 Hurter did nothing to stop wasted postage of sending out tax bills via first class

                 mail instead of pre-sorted mail, which cost Lancaster county taxpayers over

                 $250,000.00 over the period of his term. Mr. Hurter had allowed over three

                 million dollars of checks to remain un-cashed at the office of the Lancaster County

                 Treasurer for over 30 days. On March 10, 2017 Amber Green married Scott

                 Martin. They both got divorces in the fall of 2016. Scott Martin was one of the 2

                 State Senators that initiated actions against Mark Reese (also without a aid of legal

                 advice) to also set a precedent to allow a judge to alter the Pennsylvania

                 Constitution by decree (Case # CI-17-01626 Lancaster County court of Common



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                 Pleas). Mr. Cutler filed a motion to intervene in that case also. Based on tax

                 records Jeffrey Martin has one of the the smallest tax bills in East Lampeter

                 Township, of less than $ 2.00 per year. On March 17, 2017 after a two hour

                 hearing Judge Miller ruled Mr. Cutler was essentially no longer the tax collecor,

                 and issued an that order that siezed his mail and bank accounts opened at Fulton

                 Bank for this purpose. Mr. Cutler had filed a motion with the Supreme Court of

                 Pennsylvania complaing about his treatment and violations of whisteleblowerAct

                 of Dec. 12, 1986, P.L. 1559, No. 169. On May 4, 2017 the funeral for Mr. Robert

                 Needle, was held. He died unexpectedly and was a retired employee of the

                 Commonwealth of Pennsylvania’s auditor general’s office and Mr. Cutler’s

                 cousin. On May 25, 2017 Beranton Whisenant was found murdered on

                 Hollywood beach in Florida, he may have been the federal employee Mr. Needle

                 was confering about the activities in Pennsylvania. Case # 2:17-cv-00984 was

                 dismissed just after notice of default judgement was filed against the NBC

                 affiliate. Despite over ninety thousand dollars being declared stolen by the

                 verification of Brian Hurter of March 7, 2017, no criminal complaint was ever

                 filed as of this date. Mr. Cutler contacted the attorney general of Pennsylvania,

                 and made a complaint of insurance fraud. Mr. Cutler found not a single lawyer

                 would represent him. Lawyers that at first showed interest would cancel after a

                 day or two, as if intimidated or threatened. The email from the FBI shows Mr.

                 Cutler was not only being monitored, but the people he contacted were also being



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                 monitored. On April 23, 2018 Mr. Cutler filed an Injunction Pending Appeal. On

                 April 25, 2018 (AA219, 220) the court filed an Order dictating the proper format

                 of all responses by CM/ECF filers in the USCA case 18-1816. All of Mr. Cutler’s

                 Appeals in state court have been exhausted. On April 25, 2018 Mr. Geffen on

                 behalf of the Public Interest Law Center filed an Entry of appearence that failed to

                 notify Mr. Cutler and violated Rule 65 of the Federal Rules of Civil Procedure

                 (AA552, 554). All documents filed on behalf of Acting Secretary Robert Torres

                 and Commisioner Marks fail to comply with the order of April 25, 2018 (AA219,

                 220) (AA557, 559) and therefore all their claims should be dismissed.


                            B. The History and Characteristics of Jeffrey Cutler

                     Prior to this incident, the record shows that Mr. Cutler was a hardworking, man,

                 who had successfully supported himself and never had any prior criminal

                 convictions. Mr. Cutler was living in East Lampeter Township, Pennsylvanina for

                 several years. He had worked for various companies and had got elected to public

                 office as Tax Collector by simply writing his name on he ballot and having the

                 good fortune to get marble #2 in a lottery draw to break the tie. His first day on the

                 job was January 6, 2014 as a East Lampeter Township Tax Collector. He also had

                 a solid work history before being elected, including jobs as an engineer and

                 helping start up complicated pharmaceutical, manufacturing opertions, food plants,

                 and paper manufacturing projects.

                     Mr. Cutler not only worked as an engineer, but as an electrician for a ship yard,


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                 and other companies. Mr. Cutler does not have an any criminal record, and has

                 tried to preserve his reputation throughout his life. Mr. Cutler term in office of 27

                 months, was short of the elected term of 48 months. It does bear mentioning that

                 he was relatively young at the time (62) of the illegal removal from public office

                 based on prejudice of the township and Lancster County. The township supervisor

                 has been employed for over 21 years, and the township now has a debt of over 25

                 million dollars.   Mr. Cutler has been exceptionally proactive about trying to clear

                 his name and had to investigate misconduct of East Lampeter Township,

                 Lancaster County and FBI (AA118). However on June 27, 2017 Mr. Cutler visited

                 the Central Penn college in East Lampeter Township and inquired about some of

                 the summer courses. That evening Mr. Cutler got a call from an officer of the East

                 Lampeter Township Police department and was told Mr. Cutler will be arrested for

                 criminal tresspass if he enters the college again. Essentially there was no

                 complaint and Ralph Hutchinson tried to turn East Lampeter Township into a

                 concentration camp for Mr. Cutler just like NAZI Germany (AA126).         Except for

                 the brief detention by State Police on January 11, 2016, Mr. Cutler has never beem

                 in custody. He lived a law-abiding, productive life, characterized by a solid work-

                 ethic.


                            C. The Guilty Plea

                 Jeffrey Cutler has only entered into a plea agreement to open an office in East

                 Lampeter Township, and post hours on the tax bills. This agreement was negotiated


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                 by Drew Deyo without Mr. Cutler’s appproval or Mr. Cutler allowed to be in

                 attendence on Dec 30, 2015.

                            D. The Sentence

                     On March 7, 2017 based on time stamp on the prothontary web site Judge

                 Miller entered an order that is dated March 10, 2017 which froze the assets of the

                 bank accounts of Jeffrey Cutler at Fulton Bank. The petition to intervene was

                 filed on On March 8, 2017 based on time stamp prothontary web site, by Christina

                 Hausner. On March 17, 2017 Judge Miller issued an order which made final the

                 theft of Mr. Cutler’s assets. On October 2, 2017 six police officers of East

                 Lampeter Township and 1 one constable threatened Mr.Cutler with death if he

                 failed to leave his apartment at 67 Cambridge Village, based on fraudulent

                 paperwork of eviction (a legal stop order was in effect based on case filed in

                 federal court which is now 5:17-cv-05025). All of Mr. Cutler’ assests have been

                 destroyed or stolen, despite 2 insurance policies.


                                         SUMMARY OF THE ARGUMENT

                         The sole issues on appeal are the reasonableness of Jeffrey Cutler’s sentence

                 that included a very rare documented fraud by public officials, and if a judge can

                 blatantly ignore the constitution. Mr. Cutler submits that the above-the-range

                 sentence is substantively unreasonable based on the totality of the circumstances.

                         The sentence is a result of criminal activity and discrimination by the state.

                 The state Court’s unsustainable finding that Mr. Cutler demonstrated, through this


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                 alleged offense, a disregard for being the wrong religion. The record simply does

                 not support the court’s conclusion. Instead, the facts show that despite Mr. Cutler’s

                 demonstrated efforts at rehabilitation of his name, censorship of his activities by

                 NBC, the LNP Media Group and every other media outlet in the United States,

                 showed a disregaed for Human Life and support of Fake News. Worse, data from

                 the Sentencing Commission conclusively shows that upward variances are

                 extraordinarily rare, but not in Lancaster County Pennsylvania. The sentence

                 facially created a disparity, one that was not warranted under the facts specific to

                 Mr. Cutler and this case. A previous case in East Lampeter Township of Lisa

                 Michelle Lambert was significantly tainted based on the federal judge Stewart

                 Dalzell. In short, the final sentence was far greater than necessary to address the

                 statutory goals of sentencing, since it was based on perjured testimony in both

                 cases.

                                                  LEGAL ARGUMENT

                     I.        THE SENTENCE IMPOSED BY THE COURT, WHICH
                               INCLUDED AN EXTREMELY RARE SIEZURE AND
                               UPWARD VARIANCE, WAS FAR GREATER THAN
                               NECESSARY   TO    SATISFY   THE     RELEVANT
                               SENTENCING GOALS SET FORTH IN 18 U.S.C. § 3553(a)
                               AND WAS THEREFORE UNREASONABLE.

                          A.        Standard ofReview

                          Mr. Cutler challenges the substantive un-reasonableness ofhis asset siezure and

                 being made homeless by police misconduct including the destruction of evidence of the




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                 murder of Jonathan Luna. Final sentences are reviewed for reasonableness under the

                 abuse-of-discretion standard. Gall v. United States, 552 U.S. 38, 46 (2007). Mr.

                 Cutler preserved this issue by objecting to the government’s request for an upward

                 variance, while simultaneously advocating for vacating the sentence below the

                 guideline range.

                         B.         Argument

                      Mr. Cutler respectfully challenges the reasonableness of his above-the-range

                 sentence. The substantive reasonableness review focuses on whetherit was reasonable

                 for the state court to conclude, in light ofall ofthe relevant sentencing factors, that the

                 sentence imposed was minimally sufficientto complythe sentencing goals set forth in

                 18 U.S.C. 3553(a). As the Court explained in United States v. Doe, “[s]ubstantive

                 reasonableness inquires into ‘whether the final sentence, wherever it may lie within

                 the permissible statutory range, was premised upon appropriate and judicious

                 consideration of the relevant factors.’” 617 F.3d 766, 769 (3d Cir. 2010), cert.

                 denied, 564 U.S. 1005 (2011), (citing United States v. Schweitzer, 454 F.3d 197, 204

                 (3d Cir. 2006)). Mr. Cutler maintains that in light of the facts and circumstances

                 particular to his case, that his sentence, which included an upward variance, was

                 plainly unreasonable and did not comply with the “overarching instruction tocourts

                 that they must ‘impose a sentence sufficient, but not greater than necessary,’ to

                 achieve the goals of sentencing,” Kimbrough v. United States, 552 U.S. 85, 101

                 (2007).



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                        When imposing a final sentence, a court must consider all of the goals and factors

               set forth in 18 U.S.C. § 3553(a)(2), which are:

                        (A) to reflect the seriousness of the offense, to promote respect for the law,
                            and to provide just punishment for the offense;
                        (B) to afford adequate deterrence to criminal conduct;
                        (C) to protect the public from future crime of the defendant; and
                        (D) to provide the defendant with needed educational or vocational training,
                             medical care, or other correctional treatment in the most effective
                             manner.

               Additionally, the court must consider the nature and circumstances of the offense, the

               history and characteristics of the defendant, the kinds of sentences available, the

               guideline range, and the need to avoid unwarranted disparities in sentencing. See 18

               U.S.C. § 3553(a)(1)-(7). On appeal, as he did at sentencing, Mr. Cutler submits that

               these factors not only weighed against an upward variance, they actually supported his

               request for completely vacating a verdict based on perjured testimony.


                        1. The guideline range remains a strong starting point for any sentence.
                           Sentences outside the range must be justified by the record.

                        A correctly calculated guideline range remains the “starting point for the entirety

               of the §3553(a) analysis.” United States v. Langford, 516 F.3d 205, 211 (3d Cir. 2008).

               While the guideline range is not entitled to any presumption of reasonableness, the

               Supreme Court considers it “the starting point and the initial benchmark.” Gall, 552 U.S.

               at 50.

                        The extent of the variance is important because the sentencing court must explain

               a variance and “ensure that the justification is sufficiently compelling to support the




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               degree of the variance.” Id. at 50. As the First Circuit explained, in reviewing the

               reasonableness of a sentence, an appellate court “focuses on the duration of the sentence

               in light of the totality of the circumstances.” United States v. Del Valle-Rodriguez, 761

               F.3d 171, 176 (1st Cir. 2014). Moreover, in Gall, the Supreme Court noted that it was

               “uncontroversial that a major departure should be supported by a more significant

               justification than a minor one.” Gall, 552 U.S at 50.

                      For the reasons more fully addressed below, Mr. Cutler maintains that the record,

               as a whole, did not support any verdict by Judge Miller. Furthermore, the reasoning

               given by the court for the variance did not justify an upward variance, and violation of

               law.

                      2. The nature and circumstances of the offense did not justify an upward
                         variance.

               Mr. Cutler respectfully submits that a careful review of the record and a balanced

               analysis of all the facts surrounding this offense do not support any penalty imposed by

               the court or the reasoning offered by the court for the final sentence. The nature and

               circumstances of the offense is an important factor within the §3353(a) analysis, but

               that analysis requires the court to look at the totality of the circumstances. To the

               contrary, Mr. Cutler did not and does not have a disregard for human life. There is no

               question that the nature of the underlying offense was extremely not serious or

               dangerous. Mr. Cutler does not acknowledge his behavior was wrong, but he simply

               maintains that his conduct must be put in the correct context. There was no crime,




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               except the 190,000 counts of mail fraud committed by Brian Hurter and Amber Green

               Martin (even though it has now been published she failed to have a surety bond and

               was collecting taxes illegally) defrauding almost every taxpayer in Lancaster County,

               except High Inc and their partner LNP Media Group.

               His actions were driven by the natural desire for self-preservation, rather than an

               indifference towards others.

                      Moreover, characterizing his behavior as reflecting a disregard for human life

               would place Mr. Cutler among the worst and most violent offenders. However, it must be

               emphasized that Mr. Cutler has no criminal history points and was convicted of no crime.

               A 2017 report by the United States Sentencing Commission (“Commission”) entitled

               “The Past Predicts the Future Criminal History,” explains, “the Commission’s present

               study found that recidivism rates are closely correlated with total criminal history points

               and resulting CHC classification, as offenders with lower criminal history scores have

               lower recidivism rates than offenders with higher criminal scores.”

               Mr. Cutler did not commit any criminal offense but the action in Mandamus was

               aimed at incarcerating Mr. Cutler like Lisa Michelle Lambert. Data from the

               Commission does not support placing Mr. Cutler in the company of the worst, most

               dangerous offenders who demonstrate a disregard for the safety ofothers.

                      3. Mr. Cutler’s and Lisa Michelle Lambert’s history and characteristics
                         strongly supported his request for vacating the verdicts. A downward
                         variance was both available and appropriate in both cases.

                      An equally important sentencing factor is the history and characteristics of the



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               individual defendant. Lisa Michelle Lambert’s tremendous efforts to improve herself

               while incarcerated and then striving to lead an honest, law abiding life, are proofofgood

               name. There is no question she successfully established herself as a hardworking, person.

               Moreover, the court’s disregard for human life should warrant a full dismissal of all

               charges against Lisa Michelle Lambert, Mr. Cutler and Jammal Harris.

                      Because a defendant disagrees with the manner in which a court weighs the

               sentencing factors. United States v. Bunger, 478 F.3d 540, 546 (3d Cir. 2007) (“Nor do

               we find that a district court’s failure to give mitigating factors the weight a defendant

               contends they deserve renders the sentence unreasonable.”) However, post-offense

               rehabilitation, and how it relates to the history and circumstances of the defendant, is

               arguably a unique factor and an exception to that policy.

                      First, the Supreme Court has affirmatively stated the rehabilitation merits “great

               weight” and provides strong support for more lenient sentences. Gall v. United States, 552

               U.S. 38, 59 (2007) (“The District Court quite reasonably attached great weight to Gall's

               self-motivated rehabilitation, which was undertaken not at the direction of, or under

               supervision by, any court, but on his own initiative. This also lends strong support to the

               conclusion that imprisonment was not necessary to deter Gall from engaging in future

               criminal conduct or to protect the public from his future criminal act.”) In fact, a

               defendant’s demonstrable efforts at rehabilitation are among the most important

               considerations in the whole sentencing analysis. Persuasively, as the Supreme Court

               observed in Pepper v. United States,



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                        There is no question that the evidence of Pepper’s conduct since his initial
                        sentencing constitutes a critical part of the ‘history and characteristics’ of a
                        defendant that Congress intended sentencing courts to consider.

                        Pepper’s postsentencing conduct also sheds light on the likelihood that he will
                        engage in future criminal conduct, a central factor district courts must assess
                        when imposing sentence. As recognized by Pepper’s probation officer,
                        Pepper’s steady employment, as well as his successful completion of a 500-
                        hour drug treatment program and his drug-free condition, also suggest a
                        diminished need for ‘education or ‘vocational training . . . or other treatment.’
                        Finally, Pepper’s exemplary postsentencing conduct may be taken as the most
                        accurate indicator of his ‘present purposes and tendencies and significantly
                        to suggest the period of restraint and the kind of discipline that ought to be
                        imposed upon him. Accordingly, evidence of Pepper’s postsentencing
                        rehabilitation bears directly on the District Court’s overarching duty to
                        ‘impose a sentence sufficient, but no greater than necessary’ to serve the
                        purposes ofsentencing.’

               562 U.S. 476, 492-3 (2011) (emphasis added). Lisa Michelle Lambert’s case is

               remarkably similar to Pepper’s case in the sense that both defendants made extensive

               efforts at rehabilitating themselves. In sum, the Supreme Court explicitly holds

               rehabilitative efforts are among the most important factors in the overall sentencing

               analysis, and corruption of public officials and religion should not weigh into these

               guidelines.

                        There is a real threat here, that instead of sending a message to other individuals

               about the risks ofreoffending, the upward variance in this case serves as a deterrent against

               running for public office, as those efforts were grossly undervalued by the sentencing

               court.

               The record simply does not support a finding that Mr. Cutler deserved any penalty and

               that sentence.



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                     4. The final sentence resulted in an unfair and unwarranted sentencing
                        disparity.
               Furthermore, this sentence must be vacated and this matter remanded because the final

               sentence in this case created a major sentencing disparity. Statistics and data released by

               the Commission show that upward variances pursuant to §3553(a) are extremely rare. In

               reality, they are so rare that they are virtually a statistical anomaly.

                      Based on the data, to justify this sentence, Mr. Cutler and Lisa Michelle Lambert

               have to be among the very worst offenders, and have committed one of the most

               egregious offenses. However, for the reasons discussed above, Mr. Cutler does not

               belong among the category of worst offenders. In fact, he stands apart from other persons

               never convicted. Mr. Cutler and Lisa Michelle Lambert are inexplicably placed among

               the top three or four worst defendants, committing the worst offenses, in the fiscal year.

               The record simply does not justify such a conclusion. Therefore, the upward variance led

               to an unjustifiable disparity.

                      - United States v. Rogers, 598 Fed. Appx. 114 (3d Cir. 2015), cert. denied 135
                        S.Ct. 1570. Third Circuit upheld the upward variance based in large part on the
                        defendant’s personal characteristics which included a lack of employment, and
                        a lengthy juvenile and adult criminal record.

                      - United States v. Ramirez, 460 Fed. Appx. 119 (3d Cir. 2012), cert. denied568
                        U.S. 1016. The district court did not abuse its discretion in imposing an upward
                        variance after finding the defendant had a lengthy and “disturbing” record. Id.
                        at 120. Also, the firearm was used in connection with drug distribution.

                      - United States v. Cabbagestalk, 246 Fed. Appx. 109 (3d Cir. 2007), cert. denied
                        552 U.S. 1126 (2008). Third Circuit ruled the district court’s explanation that
                        defendant’s lengthy criminal history, which included convictions for robbery,
                        aggravated assault, making terroristic threats, and reckless endangerment of
                        another person, justified the upward variance. This case also involved the use



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                          of a weapon in connection with another felony.

                      - United States v. Perez-Carrera, 686 Fed. Appx. 15 (3d Cir. 2017), cert. denied
                        138 S.Ct. 281. Third Circuit noted that defendant not only had prior drug and
                        firearm convictions, but there were very short time gaps in between offenses.

                      - United States v. Carson, 377 Fed. Appx. 257 (3d Cir. 2010). Upward variance
                        affirmed for defendant with “deplorable” criminal record that spanned “a little
                        over 30 years” and included multiple convictions for firearm offenses and other
                        crimes ofviolence.

               Mr. Cutler or Lisa Michelle Lambert are not comparable to any of these defendants;

               they wer not “similarly situated” to these defendants. Mr. Cutler had a solid

               employment record, and no prior conviction, did not offend or use a firearm in

               connection with another offense.

                      In sum, these cases highlight that the final sentence created an unfair and

               unwarranted sentencing disparity. Instead of being sentenced with a no fine like a

               defendant never convicted (or John Corsine), of with no prior conviction, and who

               presented a number of verifiable mitigating factors, Mr. Cutler and Lisa Michelle

               Lambert were sentenced like an individual with a lengthy criminal history and no history

               of post-offense rehabilitation.

               The disparity was not only unwarranted, it was also inherently unfair, and in furtherance of a

               criminal act.

                      5. The sentence was substantively unreasonable.

                      As established above, the upward variance was not justified in this case. The

               record does not support a finding that Mr. Cutler showed a disregard for human life. Due

               to the application of the variance, the sentence created an unwarranted disparity placing


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               Mr. Cutler and Lisa Michelle Lambert among the top worst offenders before the court.

               The final result was an above- the-range sentence that cannot be justified by the record,

               and is unduly punitive based on the totality of circumstances. Because the final sentence

               does not represent the statutorily mandated minimally sufficient sentence, it is

               substantively unreasonable. Because of the number of documents that appear to be

               altered (AA339)(AA587) or late, even in federal court. In previous appeals (16-3164)

               parts of Rand Paul’s book “Government Bullies” which was photocopied as part of the

               appeal it was obscured and made unreadable. Robert Mueller was the director of the FBI

               on November 4, 2003 when Jonathan Luna, (POSSIBLY BY MEMBERS OF THE KLU

               KLUX KLAN) was found MURDERED in Lancaster county, Pennsylvania. Five days

               after the death James Comey may have been given the number 2 position at the DOJ, to

               help cover-up the murder. At the time of the MURDER Andrew McCabe was in charge

               of the criminal division of the FBI. The FBI tried to get the coroner of Lancaster, county

               to call the MURDER a SUICIDE. Mr. McCabe was fired from the FBI for lies he made

               on March 16, 2018.

                      April Brooks made the FALSE statement "There's no evidence to show that he met

               his death at the hands of any other individual," Brooks said. "Or that he had seen or been

               with any other individual that night. You have naysayers and you have a divergence of

               (law enforcement) opinion," she said. "But again, we turned over every rock. We are

               confident that there is nothing hanging out there to find."

               <ref>http://articles.chicagotribune.com/2012-08-29/news/sns-rt-us-usa-security-



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               fbibre87s0u5-20120829_1_white-collar-crime-drug-gangs-gang-cases</ref>., even

               though this contradicts the report of the Lancaster county coroner. Flora Posteraro was

               fired <ref>https://www.ydr.com/story/news/2018/03/13/abc-27-anchor-leaves-station-

               says-not-my-choice/421175002/</ref> the same day Jeffrey Cutler emailed a reminder

               that on the 10 year anniversary of Luna’s death WHTM had done a story that mentioned

               the FBI cover-up <ref>https://www.youtube.com/watch?v=LOXQSptqGKQ</ref>. The

               Baltimore Sun reported of the FBI cover-up on the 5 year anniversary of Luna’s death

               <ref> http://www.baltimoresun.com/news/maryland/bal-md.luna30nov30-story.html

               </ref>

                        Based on United States v. Williams, 341 U.S. 58 (1951) and Gill v. Whitford,

               (Supreme Court 2018) and Masterpiece Cakeshop, Ltd. v. Colorado Civil Rights

               Commission. Also based on <ref>https://lancasteronline.com/news/local/lancaster-

               county-treasurer-without-insurance-for-millions-in-tax-dollars/article_ef5b90bc-89d5-

               11e8-8ace-77712e721cba.html</ref> Amber Green Martin never had a surety bond to

               collect taxes, and therefore Susan Peipher, Christina Hausner and others were involved in

               suborning perjury, destroying or concealing evidence, witness tampering, and

             concealing income or assets, Mr. Cutler requests the following conclusion.


                                                    CONCLUSION

                         For the foregoing reasons, Appellant Jeffrey Cutler respectfully submits that

             hereby requests that the court grant his Permanent Injunction and enjoin the enforcement of

             the revised voting map, a new election date set using the previously approved voting


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             districts, bar all Pennsylvania judges from submitting remedies which knowingly violate the

             Pennsylvania constitution, bar any further enforcement of “Obamacare”, remove all penalties

             from plaintiffs, declare executive ORDER 9066 UNCONSTITUTIONAL, and bar the

             review, and distribution, of documents siezed of Mr. Cutler/Mr. Cohen and the suspension of

             further action in NY cases known as 1:18-cv-03501 and 1:18-mj-03161KMW., return assets

             seized based on an illegal order, reinbursement of legal costs and other remedies that court

             deems appropriate, and vacate the sentence for Jeffrey Cutler, Lisa Michelle Lambert, and

             Jammal Harris and all persons similarly situated. Also stop retrial of case 1:16-cr-10233-

             RGS so these people are not treated differently than Senator Menendez, or John Corsine in

             the MF Global fraud case.

                                                            Respectfully submitted,



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                 Originally Dated: July 16, 2018

                 Date_______________________




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                   PAC

           From:                   PAC
           Sent:                   Wednesday, October 3, 2018 11:07 AM
                                                                   (b)(6), (b)(7)(C)
           To:                     RSMSC; AMZ; JLQ; DWA; JSR; LR
                                (b)(6), (b)(7)(C)
           Cc:
           Subject:                BuzzFeed: This Ohio Woman's Run-In With The FBI Gives Us A Window Into Robert
                                   Mueller's Trump–Russia Probe


                   BuzzFeed: This Ohio Woman's Run-In With The FBI Gives Us A Window Into Robert Mueller's
           Trump–Russia Probe
                   https://www.buzzfeednews.com/article/kevincollier/trump-russia-mueller-probe-guccifer-graduate-
           student-cleared
                   By Kevin Collier
                   October 3, 2018

                  Cassandra Ford tends to stay online late into the evening and then sleep in. So when two FBI agents
           dispatched by special counsel Robert Mueller’s office pounded on her boyfriend’s door at 10 in the morning in
           April of this year, they woke her up.

                       She stumbled downstairs and opened the door, her jaw dropping when they handed her a subpoena
              telling her she had to testify before a Washington grand jury in two weeks. Ford didn’t recognize the first
              agent, who was tall, bearded, and gruff. “He was like, ‘If you don’t go, it’s not going to be good for you,’
              kind of threatening,” she recalled.

                      But she knew the other agent, Scott Halper. Back in August 2016, he’d taken her out for coffee in
              her native Defiance, Ohio, to talk about the unusual way she was using Twitter. He was friendly enough at
              the time he just wanted to chat about a Twitter account she’d registered that June with the username
              @Guccifer2.

                      She’d created the account as something between a joke and an experiment a riff off the
              hacktivist persona Guccifer 2.0, who at the time was slowly releasing files stolen from the Democratic
              National Committee. It would be months before the US government would publicly identify Guccifer 2.0
              as a front for Russia’s GRU military intelligence agency, the same group that now stands accused of
              hacking into the DNC and taking the emails.

                      But during her first meeting with Halper, she never felt like she was being investigated. Halper had
              even told her she should consider joining the bureau.

                     “I do think it’s kind of funny, because if anybody’s going to walk into an international hacking
              incident and have no clue about it, it would be me for sure,” Ford told BuzzFeed News.

                      But it apparently wasn’t funny to Mueller, who is tasked with finding crimes tied to foreign
              influence on the 2016 election, no matter what they may be.

                     At the time Mueller subpoenaed Ford, he was three months away from charging 12 GRU officers,
              accusing them of a host of crimes related to the DNC hack and leak. Echoing something journalists and



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              cybersecurity experts had said for a while, the indictment painstakingly detailed allegations of how the
              Russians used the Twitter account @Guccifer 2.

                     That account was an homage to Marcel Lazar, a Romanian who called himself Guccifer and
              hacked emails from political figures like Colin Powell and George W. Bush before being arrested in 2014
              and extradited to the US, where he’s now serving a four-year sentence. But in Russia’s hands, the handle
              was repurposed to tweet links to stolen material, try to communicate with someone tied to Donald Trump’s
              campaign, and pass most of the hacked material to WikiLeaks.

                      Cassandra Ford didn’t hack the DNC. She doesn’t know how to hack, was never charged with a
              crime, and believes she’s no longer of interest to law enforcement. But her story how a 26-year-old fell
              victim to Russian trolling, confused others in turn, and got swept up in Mueller’s investigation shows
              how fevered some Twitter obsessives got in trying to follow the threads of Russian hacking.

                     It also provides a view into how Mueller's probe operates and the extent that Mueller has gone to
              make sure he leaves no stone unturned as he looks into Russian meddling and any connection to the
              Trump campaign.

                       Ford found herself in some weird corners of Twitter in the spring of 2016, her final semester in
              Penn State’s international affairs master’s program and a few months before the DNC hack. She’d been
              studying the situation in Syria, swaths of which at the time were controlled by ISIS, when she discovered
              #OpISIS, a Twitter game of cat and mouse where pro-ISIS accounts tried to connect with each other and
              recruit, while a network of anti-ISIS activists, identifying as Anonymous despite few displaying any
              hacking prowess, tracked and reported them to Twitter.

                       Former Twitter employees say #OpISIS wasn’t particularly effective at stopping the militants’ use
              of their platform. At the time, Twitter, like other social media companies, was under significant
              international pressure to find a way to algorithmically stop ISIS recruitment, and was tweaking what
              would become a relatively effective formula to block ISIS users from posting or registering new accounts.

                      But Ford became obsessed with #OpISIS’s immediacy, its secrecy, and the sense that people
              presenting themselves as both Anonymous and ISIS were interacting directly with her. She wrote a final
              paper for her online ethnographies course on those experiences and “the world of Anonymous that I had
              found myself in the middle of.”

                    “The writing is coherent,” her professor responded, “but at the end I’m still pretty mystified about
              who’s who and what’s what and the purpose of all these cloak-and-dagger communications.” He gave her
              a B+.

                      Ford headed back home to Defiance that summer, listless and spending a lot of time in her online
              world, more concerned with the immediacy of what her friends were saying and what ISIS fanboys were
              doing than with what the media reported. She didn’t care for that year’s presidential politics. She was a
              registered Republican from years ago, when she’d wanted to vote for Ron Paul for president, but she
              disliked Donald Trump and thought Hillary Clinton’s plan in Syria, to continue to aid rebels against both
              ISIS and Bashar al-Assad, would only continue Syria’s cycle of misery. When the DNC announced on
              June 14 that it had been hacked, and that the company it hired to do cybersecurity response, CrowdStrike,
              blamed the GRU, she missed the news.

                     What she did see was what her circle on Twitter was saying the next day: Some guy calling




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              himself Guccifer 2.0 had created a WordPress blog claiming to be single-handedly behind the whole
              thing. Writing “DNC’s servers hacked by a lone hacker,” he posted several files as proof, including the
              party’s opposition file on Trump.

                       For many who followed the news, this was an obvious feint. It was telling that the blog had only
              appeared after the DNC’s announcement, and CrowdStrike was a respected company that was unlikely to
              stake its reputation on a such a huge claim. Because some of the released files were Word documents, and
              Microsoft Word captures the metadata of users who make changes, the files showed that they’d been
              changed most recently by someone who used Russian as their default language and had registered their
              name as Iron Felix, a reference to Felix Dzerzhinsky, who organized the Soviet secret police that would
              eventually become the KGB.

                      But Ford didn’t see a Russian operation she saw a mystery. Her circle on Twitter talked
              excitedly about this hacktivist who had disrupted a major American political party, and she saw chatter that
              the term “Guccifer 2” was being censored by Twitter (Twitter declined to comment for this story). She saw
              one friend say it was strange that Guccifer 2 didn’t have a Twitter account, so she registered one. Skeptical
              of the people who claimed the metadata proved the hack was the work of Russia, and feeling cheeky
              about the online debate about the Russian metadata on those DNC documents, she made the account’s
              Twitter avatar a googled photo of Dzerzhinsky, registered its time zone as Volgograd, and, after putting a
              phrase through Google Translate, tweeted, “Не верьте всему, что вы читаете” (“Do not believe
              everything that you read”).

                      The problem with that, of course, is that Russia really was responsible for the DNC hack. In
              fact, according to Mueller’s eventual indictment, the Guccifer 2.0 personality and WordPress blog were
              hastily created on June 14 and maintained by a handful of officers in a GRU group called Unit 74455,
              which was located in a Moscow military building on Kirova Street nicknamed “the Tower” and managed
              by Col. Aleksandr Osadchuk. Those guys weren’t the DNC hackers that was the work of other GRU
              officers, located in a different building but they were tasked with disseminating Democrats’ files and
              emails. They finally did register a Twitter account @Guccifer 2, because Ford had already taken the
              cleaner one a few days later.

                      Ford doesn’t like to think of what she was doing with her account as trolling, and oftenwhen
              someone would ask her if she hacked the DNC, she’d tell them no, that wasn’t her. But she didn’t always
              go out of her way to inform people, either, and readily shared the files that the GRU released concerning
              Hillary Clinton.

                     “It was like this typical active-measures account, sowing doubt and confusion,” recalled Adam
              Parkhomenko, who was the DNC’s national field director in 2016. He spent months after the election
              obsessing over the account and sparring with Ford without ever knowing who she was.

                      And it was widely seen. While @Guccifer2 never reached 2,000 followers, it was retweeted and
              cited enough that it received hundreds of thousands of impressions in the months after its creation,
              according to Twitter’s analytics for the account, which Ford screengrabbed and shared with BuzzFeed
              News.

                     Technically, Twitter recognizes Ford’s account as being created June 9, and a review of her
              account’s archive she shared her downloaded account history with the computer forensics firm Garrett
              Discovery, which gave it to BuzzFeed News with Ford’s permission says she registered an account that
              day, and changed the username to @Guccifer2 on June 16, though she only recalls actually creating the



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              account on the latter date.

                      For Parkhomenko, the discrepancy in dates was a smoking gun. Since it appeared the account was
              created before the WordPress account, he figured whoever was behind it was somehow tied to a secret
              Russian operation. He obsessed over how the account was registered with a Volgograd time zone and
              tweeted at weird hours a result of Ford’s tendency to stay up all night online and figured there must
              be some strange connection to the Russian government.




                   Adam Parkhomenko
                   ✔@AdamParkhomenko

                    · Nov 29, 2017

                   Replying to @AdamParkhomenko

           https://twitter.com/adamparkhomenko/status/935792544562253824 …



                   Adam Parkhomenko
                   ✔@AdamParkhomenko


           Something that
           @Guccifer2, the account
            created on June 9, the day of the Trump, Jr. and Russia meeting, and 6 days before “Guccifer 2.0” was ever
           public doesn’t like to be pointed out:



           Account was registered on 6/9, Volgograd, Russia.



           Tweets in Volgograd, Russia Time Zone.
                    1:24 AM - Dec 1, 2017
                    @Guccifer2’s inbox which Ford also shared, as part of her account history soon became a
           honeypot for internet weirdos. One guy messaged her the email addresses and phone numbers of White House
           staffers, just because. One confused journalist messaged her from his verified account: “hi I am a producer at
           CNN. I am trying to reach Gufficer 2.0 [sic].”

                      Conspiracy theorists came in droves, eager to talk about George Soros, or about the Seth Rich
              conspiracy, which holds that murdered DNC staffer Rich was the actual source of the stolen emails
              even though if Guccifer 2.0 were the real hacker who broke into the DNC, that makes the Seth Rich
              theory nonsensical.




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                        Others asked her outright for hacking services, a violation of US law. “I am seeking services for
              file retrieval,” a Canadian man said. “I'm looking for someone to hak [sic] into a computer.” Another one
              asked, “Hi, can you tell me please is it possible to hack someone's twitter acct dms?”

                      The FBI noticed, too. Two months after she made the account, on Aug. 19, Ford received a phone
              call from someone in the FBI’s San Francisco field office. She was friendly, and asked about the account.
              Ford took control of the conversation: She had been harassed a lot online, she said, and would love to talk
              about it in person, and to ask the FBI if she’d been hacked.

                      Four days later, she met Halper and one other agent. They came from the Cleveland field office to
              see her at Cabin Fever, a coffee shop in downtown Defiance, a northwestern Ohio town just across the
              Michigan border and 160 miles from Cleveland.

                       Exhaustively investigating all possible angles of a hacking case is par for the course, former FBI
              officials say. Wannabe hackers and the real ones alike often brag, and the internet is rife with people falsely
              claiming credit for, or accusing someone else of, such activity. If the FBI ends up bringing charges against
              a suspect, their entire case file is subject to discovery from the defense. If there’s any hint that someone else
              might be behind a given hack, that’s a good tool for the defense, so the FBI often tries to rule out all those
              other possibilities to increase the chance of a guilty plea or conviction.

                     “I came across a lot of those types of people in my career,” said Austin Berglas, head of
              cyberforensics at the firm BlueVoyant and the former assistant special agent in charge of the FBI’s cyber
              branch in New York.

                      Berglas was among the FBI agents who investigated and eventually took down the Silk Road, the
              notorious online black marketplace, largely used to sell drugs, which at the time was the largest in history.
              It was the brainchild of Ross Ulbricht, who went by the pseudonym Dread Pirate Roberts. In November
              2013, a month after the FBI arrested Ulbricht and shuttered the site, a replacement called Silk Road 2.0,
              run by a second Dread Pirate Roberts, appeared online to take its place.

                      “When DPR was taken down, all these fake sites and DPR2 popped up. People said this is not
              legitimate, that DPR is done,” Berglas said. The following year, as part of a massive law
              enforcement crackdown on popular drug sites, Berglas’s team arrested Blake Benthall for running the
              second Silk Road.

                      At no point in her coffee date with the two agents did Ford feel threatened. Instead, she said, she
              felt emboldened. They listened to her talk about the account and the abuse she’d gotten online from
              strangers, and told her that with her education and taste for investigative work and international affairs, she
              should consider the FBI or CIA, or perhaps work at a think tank. She was intrigued, but wasn’t ready to
              move to DC, and was spooked that her affinity for marijuana could keep her from getting a job in
              government intelligence. And she ruled it out completely after Trump was elected, she told BuzzFeed
              News, for fear of being seen as endorsing him. (The FBI declined to comment for this story, but did not
              dispute its broad outlines.)

                      Justice Department investigations are supposed to be apolitical, but that hasn’t stopped pollsters,
              eager to take the temperature on a case that might directly impact the president of the United States, from
              regularly asking Americans how they feel about Mueller. His unfavorable ratings started rising last year,
              according to a Marist poll, though in recent months opinion has turned and now 59% of registered voters
              have decided they approve of his investigation, according to numerous polls.




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                     One of the concerns is that the investigation is taking too long without yet making a firm
              connection between Russian meddling and the Trump campaign. Trump himself has made that claim about
              Mueller, who was appointed to his job on May 17, 2017.




                   Donald J. Trump
                   ✔@realDonaldTrump



           Congratulations America, we are now into the second year of the greatest Witch Hunt in American
           History...and there is still No Collusion and No Obstruction. The only Collusion was that
            done by Democrats who were unable to win an Election despite the spending of far more money!
                  7:28 AM - May 17, 2018
                  But the scope and importance of the investigation are precisely why it’s dragged on for a year and a half
           with no end in sight, said Alan Rozenshtein, a law professor at the University of Minnesota and a former
           cybersecurity and foreign intelligence adviser to the Justice Department.

                      “This is simply them being very thorough. These are Boy Scouts. In the same way that the Secret
              Service tracks down every threat against the president, no matter how silly it may be, I suspect they are
              tracking every shred of evidence related to possible Russian hacking,” Rozenshtein said.

                      “I think there’s an intuition that the more important the investigation, the faster it should go. And I
              think that’s understandable, but in fact it’s the other way around. I can’t think of a criminal investigation
              whose stakes are higher, ever, in the history of the republic, in a certain sense. So you really want to get it
              right.”

                      Ford’s April 2018 subpoena asked for more information than she could provide: all documents she
              could access concerning not only the @Guccifer2 account, but also @Guccifer 2, the WordPress account,
              and, for good measure, WikiLeaks and DCLeaks, another site that the GRU registered to leak hacked US
              political material.

                      After the two agents left her doorstep, Ford talked to her boyfriend, who recommended she talk to
              Cathy Elliott Jones, a lawyer based in Ventura County, California, who considers herself an “earth mother”
              adviser to Anonymous, and who has a habit of pausing, mid phone call, to yell “fuck you, FBI!” in case
              her phone is tapped. Jones called a lawyer friend, who in turn recommended Jim Klimaski, a 72-year-old
              DC attorney who specializes in military and employment law, but who was both experienced and willing
              to take her on for free.

                      “Some lawyer in San Francisco called me up, wherever she was, Sacramento or something, and
              begged me to take this on, and I said OK, she can come over here and I’ll walk her to the grand jury
              office,” Klimaski told BuzzFeed News.

                      Ford brought printouts, including her Twitter confirmation email and account details, and headed to
              Klimaski’s office the morning of April 20. They shared a cab over to the Department of Justice, and were
              seated in a small, windowless conference room across from assistant special counsel Kyle Freeny and
              senior assistant special counsel Jeannie Rhee. Alex Kobzanets, an FBI special agent who has




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              investigated Russian cybercrime cases, sat at the head of the table and didn’t speak much.

                      Ford wouldn’t be forced to testify, Freeny said, but after the meeting, she would have to hand over
              more files from her Twitter account, as well as some Telegram chats, and answer all their questions.
              (Freeny directed BuzzFeed News’ inquiries for this story to the special counsel’s spokesperson, who
              confirmed the job titles of the people in this story but otherwise declined to comment.)

                      Freeny was friendly, a good cop to Rhee’s accusatory bad cop, Ford said. They talked about the
              account, how Ford had thought to register it, and about Jonathan Langdale, an estranged Twitter friend
              who had privately messaged her advice on how to handle @Guccifer2 in its early days, according to
              Twitter direct messages Ford provided to BuzzFeed News. When emailed for comment, Langdale replied
              that “In my view, your outlet publishes CNN-type propaganda, like the so-called-‘dossier,’ without
              verification,” and declined to answer questions.

                       The prosecutors had printed out some of @Guccifer2’s tweets on high-quality, glossy paper, which
              Ford found funny, and they asked what she had been thinking when composing them. One printed tweet
              was one of that account’s first a retweet of someone else talking about ActBlue, a Democratic
              fundraising platform. In Ford’s mind, the tweet was interesting because it pertained to a class-action
              suit, since dismissed, that accused the DNC of unfairly helping Hillary Clinton beat Bernie Sanders in the
              primary. But for the special counsel, ActBlue was a red flag: GRU officers had hacked the Democratic
              Congressional Campaign Committee to change a link to ActBlue to one for Act Blues, a phishing page
              GRU hackers had set up.

                     Kobzanets, the FBI agent who specializes in tracking Russian hackers, was more interested in who
              Ford knew, asking for details about international Anonymous affiliates she had communicated with, but it
              seemed to Ford that she wasn’t helpful.

                     “They seemed to already know everything before they started,” Klimaski recalled.

                      As the conversation dragged on, Kobzanets appeared to grasp at straws for potential leads, Ford
              said. “He was like, do you have any Russian friends? Do you know any Russians? I really sat there and
              thought about it, and was like, I don’t think I do.” (Kobzanets didn’t respond to attempts to verify those
              comments.)

                      Twice, the special counsel employees excused themselves, left together, and returned. When they
              were finished with their questions, they told Ford she wasn’t a target, but asked her to hand over her phone
              and laptop. She hesitated, but Klimaski and Jones, reached by phone, both told her that while it was
              debatable whether the subpoena covered her devices, it wouldn’t be any trouble at all for Freeny to write a
              new one. She acquiesced, and got the devices back a few days later.

                     That was the only time Klimaski and Ford met in person. He went on with his practice with other
              pro bono work. Two months later, Mueller filed his indictment against the GRU officers, including those
              accused of running @Guccifer 2 and those who allegedly hacked the material that account disseminated.

                     “We never heard from them again,” Klimaski said.




Document ID: 0.7.5411.6673                                                                                             20201221-0033294
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           JLQ

           From:                    JLQ
           Sent:                    Friday, June 15, 2018 12:58 PM
           To:                      AMZ; MRD
           Subject:                 Article


           http://www.fox5dc.com/news/wikileaks-founder-addresses-death-of-dnc-staffer-seth-rich-in-fox-news-interview

           James L. Quarles
           The Special Counsel’s Office
           (b)(6), (b)(7)(C)

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Document ID: 0.7.5411.6579                                                                                                         20201221-0043668
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           JSR

            From:                                    JSR
            Sent:                                    Thursday, June 7, 2018 4:09 PM
                                               (b)(6), (b)(7)(C)         (b)(6), (b)(7)(C)
            To:                                                  LRA; RK
                                               (b)(6), (b)(7)(C)
            Cc:
            Subject:                                 RE: Question fro          b(6), b(7)(C), b(7)(D), b(7)(E)




           Let's talk about this.

           Jeannie S. Rhee
           Special Counsel's Office
           (b)(6), (b)(7)(C)

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           -----Original Message-----
                           (b)(6), (b)(7)(C)
           Fro
           Sent: Thursday, June 7, 2018 4:07 PM
                                                                                                                                            (b)(6), (b)(7)(C)
           To: JS (b)(6), (b)(7)(C)    ; LR (b)(6), (b)(7)(C)                                                    ; RK   (b)(6), (b)(7)(C)
           (b)(6), (b)(7)(C)
           C (b)(6), (b)(7)(C), (b)(7)(E)
           Subject: Question fro b(6), b(7)(C), b(7)(D), b(7)(E)

           This afternoon I received a ca                          (b)(6), (b)(7)(C), (b)(7)(D), (b)(7)(E)




           Any guidance o (b)(5), (b)(6), (b)(7)(C), (b)(7)(D), (b)(7)(E)

           Thank you
           b(6), b(7)(C)




Document ID: 0.7.5411.5221                                                                                                                                      20201221-0043669
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   Not Responsive Records




           From (b)(6), (b)(7)(C)
           Sent: Monday, April 30, 2018 9:16 AM
           To: Special Counsel <specialcounsel@jmd.usdoj.gov>
           Subject: Re: Guccifer 2.0 - identity

           (b)(6), (b)(7)(C)




           Sent with ProtonMail Secure Email.

           ‐‐‐‐‐‐‐ Original Message ‐‐‐‐‐‐‐
           On April 28, 2018 7:56 PM (b)(6), (b)(7)(C)                     wrote:




Document ID: 0.7.5411.6890                                                               20201221-0044830
            Case 4:20-cv-00447-ALM Document 26-10 Filed 06/14/21 Page 70 of 124 PageID #: 765

                  April 28, 201 8


                 Robert S. Mueller III
                 Special Counsel
                 Department of Justice
                 950 Pennsylvania Avenue NW
                 Room B 1 03
                 Washington, DC 20530

                 Dear Mr. Mueller:




              (b)(6), (b)(7)(C)




Document ID: 0.7.5411.6890                                                               20201221-0044831
            Case 4:20-cv-00447-ALM Document 26-10 Filed 06/14/21 Page 71 of 124 PageID #: 766




              (b)(6), (b)(7)(C)




Document ID: 0.7.5411.6890                                                               20201221-0044832
            Case 4:20-cv-00447-ALM Document 26-10 Filed 06/14/21 Page 72 of 124 PageID #: 767




              (b)(6), (b)(7)(C)




Document ID: 0.7.5411.6890                                                               20201221-0044833
            Case 4:20-cv-00447-ALM Document 26-10 Filed 06/14/21 Page 73 of 124 PageID #: 768


                   PAC

           From:                   PAC
           Sent:                   Friday, April 6, 2018 10:32 AM
           To:                     RSMSC; AMZ; JLQ; DWA; JSR; LRA; RKD
                                (b)(6), (b)(7)(C)
           Cc:
           Subject:                BuzzFeed: These Messages Show Julian Assange Talked About Seeking Hacked Files
                                   From Guccifer 2.0


                  BuzzFeed: These Messages Show Julian Assange Talked About Seeking Hacked Files From
           Guccifer 2.0
                  https://www.buzzfeed.com/kevincollier/assange-seth-rich-lies-guccifer-wikileaks-hannity?
           bftwnews&utm term .mbvqpNmlw#.fxMkamy1K
                  By Kevin Collier
                  April 5, 2018

                   Twitter DMs obtained by BuzzFeed News show that in the summer of 2016, WikiLeaks was working
           to obtain files from Guccifer 2.0, an online hacktivist persona linked to by Russian military intelligence, the
           clearest evidence to date of WikiLeaks admitting its pursuit of Guccifer 2.0.
                   “[P]lease ‘leave,’ their conversation with them and us,” WikiLeaks asked journalist Emma Best, who
           was also negotiating with Guccifer 2.0 for access to what it had teased on its blog as “exclusive access” to
           hacked Democratic Congressional Campaign Committee files. “[W]e would appreciate it if you did not dump
           the docs and obviously archive.org will delete them anyway.”
                   WikiLeaks had mentioned Guccifer 2.0 a single time before, tweeting in June 2016 five weeks
           before it released its first dump of Democratic National Committee emails that the persona had claimed it
           gave WikiLeaks DNC emails.
                   But by the time of the DM conversation with Best, WikiLeaks founder Julian Assange had shifted the
           story of how WikiLeaks acquired those emails, giving repeated TV interviews that floated Seth Rich, a
           Democratic staffer who had been murdered in what police concluded was a botched robbery, as his real source.
                   The messages between Assange and Best, a freelance national security journalist and online archivist,
           are the starkest proof yet that Assange knew a likely Russian government hacker had the Democrat leaks he
           wanted. And they reveal the deliberate bad faith with which Assange fed the groundless claims that Rich was
           his source, even as he knew the documents’ origin.
                   Best told BuzzFeed News she first reached out to Guccifer 2.0 in August 2016 after it posted on its
           WordPress account a call for journalists who wanted its files. “I sent them a Direct Message and referred to that,
           asking what they had in mind,” Best told BuzzFeed News over Signal. Best has experience posting large data
           sets, and wondered if she could host the files on archive.org, a nonprofit digital library.

           But Guccifer 2.0 had another idea. “[I] gonna send a large trove to wikileaks,” it said. Best, who had DMed
           with WikiLeaks before, relayed that message to WikiLeaks in a direct message on Twitter. Neither party
           conveyed to her whether they had interacted together before.

           “I told them that Guccifer 2.0 was considering giving me at least part of the cache, which is when they asked
           me to be their ‘agent,’ which they said I would get ‘credit’ for,” Best said. She didn’t agree to act as Assange’s
           agent, she said, but stopped messaging with Guccifer 2.0.




Document ID: 0.7.5411.6682                                                                                              20201221-0045013
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                   WikiLeaks was adamant in its communications with Best that it didn't want anyone else to leak the files.

           “[T]hese other media groups are very likely to take a stupid initial angle,” WikiLeaks said in one message sent
           Aug. 12 at 9:14 p.m., adding that other news outlets would focus less on the content of the leaks than how they
           came to be. “‘We don’t know if its true. Possibly russians who knows blah blah blah.’”
                  WikiLeaks’s pitch worked. “I dropped the matter with both parties and never received or passed on any
           exclusive G2, DNC, Podesta, etc. documents,” Best said.

           Less than an hour after WikiLeaks’s last message to Best, Guccifer 2.0 tweeted that it had handed those
           documents over.
                     Who was in control of the WikiLeaks Twitter account cannot be known with certainty. But Assange
           is widely considered to be the primary user of the @WikiLeaks Twitter handle, and Best believed her chats with
           that handle “were with him or his proxy.”
                     Best said she deleted all her direct messages after noticing someone was trying to hack her Twitter
           account, but recently found the email notifications that users receive when they get a DM on Twitter. A lawyer
           for WikiLeaks did not respond to a request for comment.
                     The following is the entirety of WikiLeaks’s messages to Best that night, according to the emails she
           provided. All times are ET. (Twitter does not send a user copies of their own messages, so the contents Best
           provided are one-sided.)
                     8:43 p.m.: please “leave” their conversation with them and us
                     8:43 p.m.: we would appreciate it if you did not dump the docs and obviously archive.orgwill delete
           them anyway
                     9:12 p.m.: Impact is very substantially reduced if the "news" of a release doesn't co-incide with the
           ability to respond to the news by searching
                     9:13 p.m.: non-searchable dumps are just channeled into a few orgs with technical resources. then
           others won't touch them because they perceive that the cherries have all been picked by techdirt or whatever.
                     9:14 p.m.: and these other media groups are very likely to take a stupid initial angle
                     9:15 p.m.: “We don’t know if its true. Possibly russians who knows blah blah blah” because they don’t
           properly verify prior to publication and are scared because they’re not us, contaminating the entire release
                     9:18 p.m.: in that regretable event, from our perspective, please just act as our agent we can ensure you
           get the right credit, cross promotion etc.
                     Before Guccifer 2.0 began speaking with Best, the account had repeatedly claimed to be Assange’s
           source, though it was a one-sided relationship. On June 15, more than a month before WikiLeaks published its
           first of two batches of Democratic emails, the persona wrote in an email to the Smoking Gun that it had
           “thousands of files and mails” that it already “gave to Wikileaks.” When WikiLeaks released its first batch of
           Democrats’ emails in the 2016 campaign, the “DNC Leaks,” Guccifer 2.0 claimed to be the source.
                     But Assange chose, in television interviews both immediately before and after his conversation with
           Best, to not publicly bring up Guccifer 2.0, and instead to tease the conspiracy theory that Seth Rich, the
           Democratic National Committee staffer whose murder spawned conspiracy theories, could be the source for his
           leaks.
                     The Seth Rich conspiracy held, in essence, that Rich, a DNC staffer who supported Bernie Sanders,
           grew disillusioned with the party after Hillary Clinton won the nomination, stole emails to give to WikiLeaks,
           and was killed for it.
                     The theory didn't account for how a regular staffer would have had access to Clinton campaign manager
           John Podesta’s email account, which WikiLeaks released in October, or files stored on the DCCC’s server,
           which Guccifer 2.0 released slowly over the summer on its WordPress account and in emails to reporters. Nor
           did it account for why the NSA, FBI, and CIA, as well as a number of US and foreign private threat




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           intelligence companies, would each conclude there was sufficient evidence that the GRU, Russia’s military
           intelligence arm, had indeed hacked those targets.
                    Rich's murder, two weeks after Assange first began leaking the hacked DNC documents, was likely the
           result of a robbery attempt gone bad, police concluded. But the conspiracy theory was spread quickly by alt-
           right social media figures and conservative news sites, and lasted far beyond the election, with people like Fox
           News commentator Sean Hannity talking about it for months after Trump took office.
                    Rich's parents have since sued Fox News over “the pain and anguish that comes from seeing your
           murdered son's life and legacy treated as a mere political football.” His brother Aaron has sued two other right-
           wing commentators who pushed the theory that Aaron aided his brother and illegally helped cover it up. Fox
           declined to comment on the legal action, but noted it has retracted the story and that Hannity announced in May
           2017 that he would stop coverage of the hoax out of respect for Rich's family.

           Three days before the conversation with Best, Assange brought up Rich unprompted during an appearance via
           livestream on Netherlands' Nieuwsuur, a nightly public news broadcast: “Whistleblowers go to significant
           efforts to get us material, at often very significant risks,” he said. “There's a 27-year-old that works for the DNC
           who was shot in the back, murdered, just a few weeks ago for unknown reasons, as he was walking down the
           street in Washington,” he said.

           When host Eelco Bosch van Rosenthal echoed what DC police had concluded, that Rich’s death was a botched
           robbery, Assange replied, “No, there’s no findings.”

           That same day, the WikiLeaks Twitter account announced it would offer a reward for information leading to the
           conviction of Rich's killer.
                   In those interviews, despite privately angling for Guccifer 2.0’s files, Assange continued to push the
           Seth Rich story. Two weeks after the conversation with Best, Assange appeared on Fox News, and while he
           didn’t claim Rich was murdered over the leaks, he refused to deny it either, and made no mention of any other
           source.

           “If there’s any question about a source of Wikileaks being threatened, people can be assured that this
           organization will go after anyone who may have been involved in some kind of attempt to coerce or possibly
           kill a potential source,” Assange said.

           “I know you don't want to reveal your source, but it certainly sounds like you're suggesting a man who leaked
           information to WikiLeaks was then murdered,” said host Megyn Kelly.

           “If there's someone who's potentially connected to our publications and that person is then murdered in
           suspicious circumstances, it doesn't necessarily mean that the two are connected. But that type of allegation is
           very serious and it's taken very seriously by us,” Assange replied. Since then, WikiLeaks has tweeted numerous
           times about the theory, never disputing it.
                    Beyond the June 2016 tweet, Assange made no mention of Guccifer 2.0. As
           with previousmisdirections, hinting that Rich was responsible gave WikiLeaks a means of not implicating the
           Russian government.
                    WikiLeaks has been caught covering for Russia at least twice before, both in the summer of 2016, when
           it declined to publish a huge cache of Russian government data, and in its 2012 exclusion, in its published
           “Syria Files,” of a $2.4 billion transaction from the Central Bank of Syria to the VTB Bank in Russia. In
           September, it finally published 35 files from a private Russian intelligence company, but most of them were
           already public and of little news value, leading experts to allege that was a decision to quiet criticism that




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           WikiLeaks was too friendly to Russia.
                  Details about the true identity of Guccifer 2.0 are still coming to light. But in many ways, it was obvious
           from the start.

           Guccifer 2.0 first appeared online on June 15, exactly one day after the Washington Post broke the story that the
           DNC had been hacked and that Russia’s military intelligence agency was behind it. Guccifer 2.0 claimed to be
           Romanian, but didn’t understand the language. It used a shady Russian VPN service that gave it access to IP
           addresses that weren’t commercially available. Despite having files from congressional races all over the
           country, it prioritized leaks of swing states.

           In a joint report released after the election, in January 2017, the US’s top intelligence agencies announced that
           “We assess with high confidence that the GRU relayed material it acquired from the DNC and senior
           Democratic officials to WikiLeaks. Moscow most likely chose WikiLeaks because of its self-proclaimed
           reputation for authenticity.” The GRU, the report said, “used the Guccifer 2.0 persona.”

           Last month, the Daily Beast reported that either Twitter or WordPress noticed at least once that someone logged
           into the Guccifer 2.0 account without turning on a VPN, revealing an IP address belonging to the GRU in
           Moscow.
                   The files that Guccifer 2.0 published on its WordPress account would later appear in both of
           WikiLeaks's major drops during the 2016 election: the DNC Email Archive and the Podesta Emails dumps.
                   In between those releases, on Aug. 12, 2016, it was clear from those messages to Best that the
           WikiLeaks Twitter account knew that Guccifer 2.0 was the source of hacked Democratic documents.

           WikiLeaks’s formal policy is to never publicly identify a source of its leaks, and Assange still refers to Chelsea
           Manning, the whistleblower who has admitted and spent years in prison for giving WikiLeaks Army
           Intelligence documents, as an “alleged source.” He never mentioned Guccifer 2.0 or any other party as a
           potential source in those interviews.
                    With the exception of one final post, in which it shot back at the joint US intelligence report that detailed
           the Russian hacking campaign, Guccifer 2.0 went silent after Trump was elected.




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     (b)(3), (b)(5), (b)(6), (b)(7)(C), (b)(7)(E)




          -----Original Message-----
          From (b)(3), (b)(7)(E)
          Sent: Tuesday, March 13, 2018 6:42 PM
          To: RK (b)(6), (b)(7)(C)
          Subject: Records Request Processe (b)(3), (b)(7)(E)




     (b)(3), (b)(7)(E)

                                                                1




Document ID: 0.7.5411.5935                                                               20201221-0047909
            Case 4:20-cv-00447-ALM Document 26-10 Filed 06/14/21 Page 78 of 124 PageID #: 773




      (b)(3), (b)(7)(E)




                                                    2




Document ID: 0.7.5411.5935                                                               20201221-0047910
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           LRA

            From:                        LRA
            Sent:                        Friday, February 23, 2018 5:06 PM
                                      (b)(6), (b)(7)(C)
            To:


           https://www.vox.com/policy-and-politics/2017/5/24/15685560/seth-rich-conspiracy-theory-explained-fox-news-
           hannity


           L. Rush Atkinson
           Special Counsel’s Office
           (b)(6), (b)(7)(C)

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Document ID: 0.7.5411.5605                                                                                                                  20201221-0050650
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                          Case 1:17 cv 02459 Document 1 Filed 11/15/17 Page 1 of 13



                                         IN THE UNITED STATES DISTRICT COURT
                                             FOR THE DISTRICT OF COLUMBIA


                 FREEDOM WATCH, INC.

                                    Plaintiff,
                 v.

                 THE HONORABLE JEFF B. SESSIONS, in his official
                 capacity as Attorney General of the United States of America
                 on behalf of the UNITED STATES DEPARTMENT OF
                 JUSTICE                                                           COMPLAINT FOR WRIT OF
                 Washington, DC                                                         MANDAMUS

                        And

                 THE HONORABLE ROBIN C. ASHTON, in her official
                 capacity as Director of the Office of Professional
                 Responsibility on behalf of the OFFICE OF PROFESSIONAL
                 RESPONSIBILITY of the United States Department of Justice
                 Washington, DC

                        And

                 THE HONORABLE MICHAEL E. HOROWITZ, in his
                 official capacity as the Inspector General of the Department of
                 Justice on behalf of the OFFICE OF THE INSPECTOR
                 GENERAL of the United States Department of Justice
                 Washington, DC

                        And

                 THE HONORABLE CHRISTOPHER A. WRAY, in his
                 official capacity as Director of the Federal Bureau of
                 Investigation on behalf of the FEDERAL BUREAU OF
                 INVESTIGATION
                 Washington, DC

                                    Defendants.




                                                                 1



Document ID: 0.7.5411.6578-000002                                                                      20201221-0050658
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                          Case 1:17 cv 02459 Document 1 Filed 11/15/17 Page 2 of 13



                 I.      INTRODUCTION

                         Plaintiff Freedom Watch, Inc. (“Freedom Watch”) brings this action against Defendants

                 United States the Honorable Jeff B. Sessions (“Mr. Sessions”) in his official capacity as Attorney

                 General of the United States of America on behalf of the United States Department of Justice

                 (“USDOJ”), the Honorable Robin C. Ashton (“Ms. Ashton”) in her official capacity as Director

                 of the Office of Professional Responsibility on behalf of the Office of Professional

                 Responsibility of the United States Department of Justice (“OPR”), the Honorable Michael E.

                 Horowitz (“Mr. Horowitz”) in his official capacity as the Inspector General of the Department of

                 Justice on behalf of the Office of the Inspector General of the United States Department of

                 Justice (“IG”), and the Honorable Christopher A. Wray (“Mr. Wray”) in his official capacity as

                 Director of the Federal Bureau of Investigation on behalf of the Federal Bureau of Investigation

                 (“FBI”) (collectively “Defendants”) seeking a writ of mandamus pursuant to 28 U.S.C. § 1361

                 compelling Defendants to conduct an expedited investigation into the the torrent of leaks

                 surrounding the Special Prosecutor Robert Mueller’s (“Mr. Mueller”) investigation into Russian

                 interference in the 2016 presidential election (“the Mueller Investigation”).

                 II.     JURISDICTION AND VENUE

                         1.         This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

                 1331 (Federal Question Jurisdiction)

                         2.         Venue is proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391(b)(2), (3) in

                 that Defendants reside here and are subject to personal jurisdiction in this District.

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                 III.    PARTIES

                                                                  Plaintiff

                         3.         Freedom Watch is a 501(c)(3) corporation, incorporated under the laws of the

                 District of Columbia.

                                                                Defendants

                         4.         Defendant Mr. Sessions is being sued in his official capacity as Attorney General

                 of the United States of America on behalf of the United States Department of Justice.

                         5.         Defendant Ms. Ashton is being sued in her official capacity as Director of the

                 Office of Professional Responsibility on behalf of the United States Department of Justice.

                         6.         Defendant Mr. Horowitz is being sued in his official capacity as Inspector

                 General on behalf of the United States Department of Justice.

                         7.         Defendant Mr. Wray is being sued in his official capacity as Director of the

                 Federal Bureau of Investigation on behalf of the Federal Bureau of Investigation.

                 IV.     STANDING

                         8.         Plaintiff has standing to bring this action because it has been directly affected and

                 victimized by the unlawful conduct complained herein. Its injuries are proximately related to the

                 conduct of Defendants, each and every one of them, as it is a public interest watchdog which

                 investigates and prosecutes government corruption on behalf of the American people and

                 disseminates information to them.

                 V.      FACTS
                                                        BACKGROUND FACTS

                         9.         In May 2017, Mr. Mueller was appointed by the USDOJ as Special Counsel to

                 conduct along with the FBI a criminal investigation into alleged Russian interference in the 2016

                 presidential election.



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                         10.        Mr. Mueller has been tasked with investigating whether or not Russia interfered

                 in the U.S. presidential election in the 2015-2016 election cycle, and if so to what extent and in

                 what ways and whether in collusion with any U.S. campaigns or institutions.

                         11.        Mr. Mueller was appointed because the Attorney General, Mr. Sessions,

                 needlessly recused himself from overseeing an investigation into a fanciful theory that we now

                 know was invented by the Hillary Clinton presidential campaign in their deliberations within 24

                 hours of suffering an unexpected loss in the November 8, 2016 presidential campaign. Out of an

                 abundance of caution, Mr. Sessions bent over backwards to avoid even the slightest appearance

                 of bias or conflict of interest and recused himself.

                         12.        On September 11, 2017, Freedom Watch made a Complaint Against Special

                 Counsel Robert Mueller and Staff and Request for Expedited Investigation Into Gross

                 Prosecutorial Misconduct of Prosecuting Attorneys to Mr. Horowitz and Ms. Ashton and their

                 respective offices, the IG and OPR. Exhibit 1.

                         13.        Since the Complaint was made, neither OPR nor the IG has been willing to

                 confirm that an investigation is underway and thus one can only conclude that no such

                 investigation exists or is underway. Thus, it is clear that Defendants will not take action without

                 the requested judicial intervention.

                     FACTS PERTAINING TO THE LEAKS FROM MR. MUELLER AND HIS STAFF

                         14.        Since the inception of the Mueller Investigation, a pattern of a persistent torrent of

                 leaks has emerged, and considering their nature, it is clear that the majority of these leaks are

                 coming from Special Counsel Robert Mueller and his staff, most of whom are suffering from

                 serious conflicts of interest.




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                         15.        The nature as well as the quantity of these leaks makes it clear that they are

                 coming from the USDOJ and/or FBI, and Mr. Mueller’s legal staff, which are technically under

                 the direction and control and authority of USDOJ as well.

                         16.        What Mr. Mueller's staff is focused on, their progress, activities, and even what

                 they are thinking are being regularly reported in the news media on an almost daily basis.

                         17.        For instance, a NBC News article stated:

                                    Federal investigators working for Special Counsel Robert Mueller
                                    are keenly focused on President Donald Trump's role in crafting a
                                    response to a published article about a meeting between Russians
                                    and his son Donald Jr., three sources familiar with the matter told
                                    NBC News. The sources told NBC News that prosecutors want to
                                    know what Trump knew about the meeting and whether he sought
                                    to conceal its purpose.1

                         18.        The Wall Street Journal was also privy to the investigative goals and activities of

                 Mr. Mueller’s office:

                                    Special counsel Robert Mueller is examining what role, if any,
                                    former national security adviser Mike Flynn may have played in a
                                    private effort to obtain Hillary Clinton’s emails from Russian
                                    hackers, according to people familiar with the matter.
                                    The effort to seek out hackers who were believed to have stolen
                                    Mrs. Clinton’s emails, first reported by The Wall Street Journal,
                                    was led by a longtime Republican activist, Peter W. Smith.2

                         19.        In fact, just about every news media outlet has known exactly what Special

                 Counsel Mueller and his compromised staff is doing on a daily basis:

                                    The letter Mueller is reviewing was drafted by Trump along with
                                    policy adviser Stephen Miller, and legal experts say it is possibly

                 1
                   Julia Ainsley and Tom Winter, Mueller Team Asking ifTrump Tried to Hide Purpose ofTrump
                 Tower Meeting, NBC News, August 28, 2017, available at: https://www.nbcnews.com/news/us-
                 news/mueller-team-asking-if-trump-tried-hide-purpose-trump-tower-n796746
                 2
                   Shane Harris, Special Counsel Examines Possible Role Flynn Played in Seeking Clinton Emails
                 From Hackers, The Wall Street Journal, August 25, 2017, available at:
                 https://www.wsj.com/articles/special-counsel-examines-possible-role-flynn-played-in-seeking-
                 clinton-emails-from-hackers-1503694304

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                                    the most critical piece of evidence in Mueller's obstruction-of-
                                    justice case since Comey's testimony before the Senate Intelligence
                                    Committee in June, because it can give prosecutors a direct
                                    window into Trump's thinking shortly before he fired Comey.3

                         20.        The above are just a few examples out of the countless news reports providing

                 detailed specifics of the Mueller Investigation nearly every day. Given the supposedly

                 confidential nature of the Mueller Investigation, the only only possible conclusion is that the

                 information contained in the leaks is being deliberately disseminated to the media by the only

                 persons with knowledge of such Mr. Mueller and his staff.

                         21.        Mr. Mueller and his staff have appeared to zero-in and deliberately targeted

                 former National Security Advisor Michael Flynn (“Mr. Flynn”) and his family. As reported by

                 Politico, Mr. Mueller’s “most experienced attorneys have discrete targets, such as…former

                 national security advisor Michael Flynn….”4

                         22.        Mr. Mueller and his staff leaked to CNN that:

                                    Russian officials bragged in conversations during the presidential
                                    campaign that they had cultivated a strong relationship with former
                                    Trump adviser retired Gen. Michael Flynn and believed they could
                                    use him to influence Donald Trump and his team, sources told
                                    CNN.5

                         23.        As a result of Mr. Mueller’s leaks, Mr. Flynn was forced to resign from his

                 position as National Security Advisor.



                 3
                   Sonam Sheth, Mueller's investigation just got a boost and another Trump associate may be
                 in its crosshairs, Business Insider, September 2, 2017, available at:
                 http://www.businessinsider.com/stephen-miller-trump-letter-comey-firing-obstruction-of-justice-
                 mueller-russia-investigation-2017-9
                 4
                   Darren Samuelsohn, What Mueller’s org chart reveals about his Russia Probe, Politico, Nov.
                 13, 2017, available at: https://www.politico.com/story/2017/11/13/robert-mueller-russia-probe-
                 organization-244789.
                 5
                   Sources: Russians bragged about using Flynn, CNN, undated video of news broadcast,
                 available at: http://www.cnn.com/videos/politics/2017/05/20/russia-michael-flynn-donald-
                 trump-influence-brown-borger-ac.cnn/video/playlists/michael-flynn/

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                          24.       Mr. Mueller has now also leaked to media outlets, as recently as November 13,

                 2017, that he and his team are apparently investigating “an alleged plot involving Mr. Flynn, his

                 son and potentially others to forcibly and extra-legally effect the return of Fethullah Gulen to

                 Turkey in exchange for millions of dollars.”6

                          25.       Mr. Flynn faces “potential criminal liability for being both late in disclosing his

                 foreign relationships, as well as being less than forthcoming in his disclosures…. Even if

                 Mueller’s team finds Flynn’s disclosure to be accurate… he could potentially be on the hook for

                 a far different and less technical - offense than Manafort and Gates.”7

                          26.       It is also clear that the leaks are not coming from those being investigated:

                                In response to this CNN story, the President's attorney, Jay Sekulow,
                                said, "President's outside counsel has not received any requests for
                                documentation or information about this. Any inquiry from the special
                                counsel that goes beyond the mandate specified in the appointment we
                                would object to."8

                          27.       Details about Mr. Mueller's sharing investigative information and procedures, as

                 well as collaborating with the Attorney General's office of the State of New York (itself subject

                 to confidentiality of criminal investigations as well) were also promptly leaked to the news

                 media.

                          28.       Details of Mr. Mueller's investigation including focusing on possible obstruction

                 of justice by President Donald Trump and his campaign were promptly dumped into the public

                 realm in the news media.

                 6
                   Steve Vladeck, Michael Flynn’s Legal Problems are as Dire as they Sound, NBC News, Nov.
                 13, 2017, available at: https://www.nbcnews.com/think/opinion/michael-flynn-s-legal-problems-
                 are-dire-they-sound-ncna820276.
                 7
                   Id.
                 8
                    Evan Perez, Pamela Brown and Shimon Prokupecz, One year into the FBI's Russia
                 investigation, Mueller is on the Trump money trail, CNN, August 4, 2017, available at:
                 http://www.cnn.com/2017/08/03/politics/mueller-investigation-russia-trump-one-year-financial-
                 ties/index.html

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                         29.        Mr. Mueller and his team are clearly leaking confidential information regarding

                 their criminal investigation to media outlets and the public, as there is no other possible source of

                 the information that has been revealed to the public, through friendly media outlets.

                                FACTS PERTAINING TO MR. MUELLER’S GRAND JURIES

                         30.        Mr. Mueller has since convened two grand juries which have been functioning for

                 many months as the “legal heart” and base of operations of the Mueller Investigation.

                         31.        Mr. Mueller convened a second grand jury in the District of Columbia after

                 already convening a grand jury in the Eastern District of Virginia at Alexandria, Virginia.

                 Because jurors are drawn from voter rolls, and Donald Trump received only 4.1% of the vote in

                 the District of Columbia for president on November 8, 2016, Mr. Mueller's efforts at juror

                 shopping are not only unethical but fail to provide the public an assurance of the appearance of

                 integrity in these proceedings. The grand jury in Virginia would have had all the authority

                 necessary to consider evidence across the river in Washington, D.C.

                         32.        Given that President Donald Trump's campaign was headquartered in Manhattan,

                 there is no valid reason for an investigation of the 2016 presidential campaign to be sited in

                 Washington, D.C. The appearance is that the grand jury convened in Virginia was skeptical of

                 Mr. Mueller's presentations and Mr. Mueller sought a different group of grand jurors.

                               MR. MUELLER AND HIS STAFF’S CONFLICTS OF INTEREST

                         33.        28 CFR 45.2 mandates that no USDOJ employee may participate in a criminal

                 investigation or prosecution if he has a personal or political relationship with any person or

                 organization substantially involved in the conduct that is the subject of the investigation or

                 prosecution, or who would be directly affected by the outcome.




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                         34.        Mr. Mueller and his team suffer from numerous conflicts of interest that not only

                 mandate their removal, but also explain why the leaks are being disseminated to the media on a

                 daily basis. The damage of continuing leaks to the reputation of innocent persons is especially

                 harmful. The more the myth of collusion between Russia and the Trump presidential campaign

                 unravels, the more the flow of leaks accelerates each day.

                         35.        Furthermore, Mr. Mueller's investigation turns on the credibility and personal

                 interests of Mueller's long-term colleague and close friend, former FBI Director James Comey.

                 (“Mr. Comey”)

                         36.        Not only will the investigation impact Mr. Comey, but Mueller must judge his

                 own friend's credibility as a witness.

                         37.        As recently as 2009, then Director of the FBI, Mr. Mueller personally carried

                 samples of highly-enriched uranium to Moscow, as shown in official diplomatic cables that have

                 been publicly released. While Mr. Mueller's involvement in transporting uranium samples to the

                 Russian Federation may have been proper 9 the task of the Special Counsel is to give public

                 confidence and the appearance of enhanced integrity in the Russian collusion investigation.

                 Compared with the professional permanent staff of the FBI and USDOJ, Mr. Mueller cannot

                 offer public confidence in the investigation having personally worked with Russia on such high

                 level issues.

                         38.        If the evidence shows that Russia intervened in the election in relation to Hillary

                 Clinton's support for the sale of twenty percent (20%) of the uranium mining reserves of the

                 9
                        "(S/NF) Background: Over two years ago Russia requested a ten-gram sample of highly
                 enriched uranium (HEU) seized in early 2006 in Georgia during a nuclear smuggling sting
                 operation involving one Russian national and several Georgian accomplices. The seized HEU
                 was transferred to U.S. custody and is being held at a secure DOE facility. In response to the
                 Russian request, the Georgian Government authorized the United States to share a sample of the
                 material with the Russians for forensic analysis."

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                 United States to the Russian Federation as the leading member of the inter-governmental

                 decision-making body the Committee on Foreign Investment in the United States (CFIUS), Mr.

                 Mueller and his team would be ethically prohibited from honestly investigating and exploring the

                 truth.

                           39.      Mr. Mueller knowingly hired an attorney who had previously -- within the last

                 year -- represented the Clinton Foundation of whom Hillary Clinton and Bill Clinton are

                 principals. Attorney Jeannie S. Rhee (“Ms. Rhee”), D.C. Bar No. 464127 was ethically required

                 to decline a position that places her in a conflict of interest as a staff attorney for Mr. Mueller.

                           40.      Having previously represented the Clinton Foundation as an attorney, including

                 its Board of Directors and principals Hillary Clinton, Bill Clinton, Chelsea Clinton, and Former

                 Counselor of the U.S. Department of State Cheryl Mills, Ms. Rhee ethically cannot investigate,

                 work on, or prosecute the topics related to the investigation of collusion by the Russian

                 Federation with the presidential campaign of Donald Trump running against Hillary Clinton.

                           41.      Ms. Rhee's involvement contaminates the entire investigation by Mr. Mueller's

                 office.

                           42.      Furthermore, as Ms. Rhee’s supervisor and a supervising attorney, Mr. Mueller is

                 committing ethical violations by directing an attorney to violate the ethical requirements of the

                 Department of Justice and of the District of Columbia Bar.

                           43.      Mr. Mueller's hiring of Ms. Rhee - and others - is in itself an ethical violation of

                 USDOJ standards and professional rules.            However, Mr. Mueller's refusal to correct this

                 unethical conduct speaks volumes and loudly proclaims the true nature of Mr. Mueller's

                 intentions and undertakings.




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                          44.       Now, Ms. Rhee is investigating Donald Trump's alleged Russian collusion with

                 Russia during the 2016 presidential campaign as one of Mr. Mueller's top lawyers. With Mr.

                 Mueller's experience, he obviously knows that the lawyers he is hiring will be legally prevented

                 from following the evidence wherever it leads. One must infer that Mr. Mueller intends a

                 hatchet job on President Trump in retaliation for his friend, Mr. Comey's, firing from head of the

                 FBI.

                          45.       Legally Ms. Rhee can only investigate President Trump, even if the evidence

                 might show that Hillary Clinton -- through Ms. Rhee's former (recent) client the Clinton

                 Foundation -- actually colluded with Russia instead or that leaked emails from Hillary Clinton's

                 campaign were leaked by DNC employee Seth Rich. Ms. Rhee is not ethically or legally

                 allowed to look into alternative theories or any of the outrageous leaks from the deep state

                 defending Hillary Clinton's loss, the disclosure of Clinton campaign emails to Wikileaks, etc.

                          46.       Two other lawyers on Mr. Mueller's team gave the maximum $2,700 donation to

                 Hillary Clinton in last year's election.

                          47.       Three attorneys on Mr. Mueller's team - Andrew Weissmann, Jeannie Rhee, and

                 James Quarles - alone donated more than $50,000 to Democrats,10 and almost exclusively to

                 Democrats, according to Federal Election Commission campaign finance reports.

                          48.       All told, more than half of Mr. Mueller's massive team of lawyers are influential

                 donors to the Democrat party investigating the presidential campaign of a Republican Donald

                 Trump.

                          ///



                 10
                   Marshall Cohen, Special counsel team members donated to Dems, FEC records show, CNN,
                 June 13, 2017, available at: http://www.cnn.com/2017/06/12/politics/robert-mueller-donations-
                 democrats-fec/index.html.

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                                                     FIRST CAUSE OF ACTION
                                                         Writ of Mandamus

                         49.        Freedom Watch repeats and re-alleges all of the previous allegations of the

                 entirety of this Complaint for Writ of Mandamus with the same force and effect, as if fully set

                 forth herein again at length.

                         50.        Under 28 U.S.C. § 1361, “[t]he district court shall have original jurisdiction of

                 any action in the nature of mandamus to compel an officer or employee of the United States or

                 any agency thereof to perform a duty owed to the plaintiff.”

                         51.        Freedom Watch has requested that the IG and the OPR conduct an investigation

                 into the torrent of leaks coming from Mr. Mueller and his staff pertaining to the Mueller

                 Investigation, as well as the unethical conflicts of interest. The IG and OPR have refused to

                 confirm whether any investigation is underway, leading to the only possible conclusion that they

                 will not act without the judicial intervention requested in this Complaint for Writ of Mandamus

                         52.        This Court must, pursuant to 28 U.S.C. § 1361, in the nature of mandamus,

                 compel Defendants to conduct an immediate, thorough investigation into the torrent of leaks

                 coming from Mr. Mueller and his staff pertaining to the Mueller Investigation set forth in this

                 Complaint for Writ of Mandamus

                         53.        When Defendants’ investigation confirms that leaks did occur and that the

                 conflicts of interest actionable as ethical violations, Mr. Klayman respectfully requests an order

                 compelling Mr. Sessions and the USDOJ to order the removal of Mr. Mueller and his staff from

                 the investigation.

                 VI.     PRAYER FOR RELIEF

                         WHEREFORE, Plaintiff prays for relief and judgment against Defendant as follows:




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                                    (a)   A writ of mandamus compelling Defendants to conduct an immediate,

                         thorough investigation into torrent of leaks coming from Mr. Mueller and his staff, as

                         well as unethical conflicts of interest, pertaining to the Mueller Investigation and an order

                         compelling Mr. Sessions and the USDOJ to order the removal of Mr. Mueller and his

                         staff from the investigation when the investigation reveals that the leaks did originate

                         from Mr. Mueller and his staff.

                                    (b)   Mr. Klayman reserves the right to supplement and/or amend this

                         Complaint for Emergency Writ of Mandamus and Injunctive Relief.

                     Dated: November 15, 2017                   Respectfully submitted,

                                                                   /s/ Larry Klayman
                                                                   Larry Klayman, Esq.
                                                                   FREEDEOM WATCH, INC,
                                                                   D.C. Bar No. 334581
                                                                   2020 Pennsylvania Ave. NW, Suite 345
                                                                   Washington, DC 20006
                                                                   Tel: (561)-558-5536
                                                                   Email: leklayman@gmail.com

                                                                   Attorney for Plaintiff




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                     VIA FEDERAL EXPRESS                                EXPEDITED PROCESSING AND
                                                                        TREATMENT REQUESTED

                     September 11, 2017

                     Hon. Robin C. Ashton
                     Chief
                     Office of Professional Responsibility
                     950 Pennsylvania Avenue, NW #3266
                     Washington, DC 20530

                     Hon. Michael E. Horowitz
                     Inspector General
                     U.S. Department of Justice
                     950 Pennsylvania Ave, NW, #4706
                     Washington, DC 20530

                     RE:     COMPLAINT AGAINST SPECIAL COUNSEL ROBERT MUELLER AND
                             STAFF AND REQUEST FOR EXPEDITED INVESTIGATION INTO
                             GROSS PROSECUTORIAL MISCONDUCT OF PROSECUTING
                             ATTORNEYS

                     Dear Ms. Ashton and Mr. Horowitz:

                             The Office of Professional Responsibility and Inspector General must thoroughly

                     investigate the torrent of leaks, and to the extent Department of Justice (“DoJ”) or

                     Federal Bureau of Investigation ("FBI") personnel are leaking investigative and/or grand

                     jury evidence, presentations, witness testimony, or proceedings, discipline, terminate,

                     and/or prosecute those responsible.

                             The undersigned General Counsel of Freedom Watch writes as a former

                     prosecutor in the DoJ's Antitrust Division and the founder and former chairman of

                     Judicial Watch, as well as the founder, chairman, and general counsel of Freedom Watch.




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                     Mr. Klayman was also formerly a U.S. Senate candidate in the State of Florida in 2004.

                     There is reason to believe that this Complaint is necessary because Mr. Robert Mueller

                     has failed to carry out his oath of office and fulfill his duties as Special Counsel.

                             Just as I, Larry Klayman did when I served in the Department, Mr. Mueller took

                     an oath to administer to and mete out justice within the bounds of the ethics and the law

                     as a member of the DoJ. Having lived by these rules himself while a DoJ employee, the

                     upholding of these rules holds a special significance to the undersigned.

                             Rarely in our memory has such a shocking river of leaks been so great in quantity,

                     so flagrant and brazen, and so extensive and continuous. The purpose of the rules against

                     leaks of information obtained during criminal investigations includes the fear of deterring

                     cooperation of witnesses with investigators upon seeing that their "confidential"

                     discussions with DoJ personnel are splashed upon the pages of The Washington Post or

                     The New York Times and other anti-Trump “friendly media.” The damage done to DoJ

                     for years to come involving all legal matters, not just this one, in convincing complaining

                     witnesses and factual witnesses that they cannot trust DoJ personnel to adhere to the

                     Department's own rules and safeguard their confidences is incalculable. And of course

                     these leaks pollute the jury pool directly compromising the integrity of the legal process

                     and depriving potential defendants of due process and unfairly smears those who may be

                     found in the end to be blameless, yet smeared by the leaks.

                             Mr. Mueller was appointed a Special Counsel on or about May 17, 2017, by

                     Deputy Attorney General Rod Rosenstein precisely for the purpose of upholding the

                     appearance of integrity in the public view. While prosecutors, investigators, and staff of

                     DoJ are fully competent and capable of carrying out the duties delegated to Mr. Mueller,




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                     assuring the American people that the process is above reproach and not subject to

                     reasonable question was the reason for taking those tasks away from DoJ personnel

                     actually experienced in carrying them out and transferring those duties instead to Mr.

                     Mueller.

                             Unfortunately, Mr. Mueller and those he has hired have failed not only in

                     presenting a public appearance above reproach but in adhering to the legal, regulatory,

                     and ethical requirements of their appointment and employment with DoJ.

                             Special Counsel Mueller has convened not one, but two, grand juries which have

                     been functioning for many months as the “legal heart” and base of operations of the

                     Special Counsel's investigation.

                             Federal Rules of Criminal Procedure Rule 6(e)(2) "The Grand Jury" requires that:

                            (2) * * *
                            (B) Unless these rules provide otherwise, the following persons must not disclose
                          a matter occurring before the grand jury:
                               (i) a grand juror;
                               (ii) an interpreter;
                               (iii) a court reporter;
                               (iv) an operator of a recording device;
                               (v) a person who transcribes recorded testimony;
                               (vi) an attorney for the government; or
                               (vii) a person to whom disclosure is made under Rule 6(e)(3)(A)(ii) or (iii).
                          (3) Exceptions.
                            (A) Disclosure of a grand-jury matter other than the grand jury's deliberations or
                          any grand juror's vote may be made to:
                               (i) an attorney for the government for use in performing that attorney's duty;
                               (ii) any government personnel including those of a state, state subdivision,
                            Indian tribe, or foreign government that an attorney for the government
                            considers necessary to assist in performing that attorney's duty to enforce federal
                            criminal law; or
                               (iii) a person authorized by 18 U.S.C. §3322.




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                             (B) A person to whom information is disclosed under Rule 6(e)(3)(A)(ii) may use
                          that information only to assist an attorney for the government in performing that
                          attorney's duty to enforce federal criminal law. An attorney for the government must
                          promptly provide the court that impaneled the grand jury with the names of all
                          persons to whom a disclosure has been made, and must certify that the attorney has
                          advised those persons of their obligation of secrecy under this rule.
                             (C) An attorney for the government may disclose any grand-jury matter to another
                          federal grand jury.
                                     ***
                             Furthermore, Rule 6(e)(7) provides that:

                                    (7) Contempt. A knowing violation of Rule 6, or of any
                                    guidelines jointly issued by the Attorney General and the
                                    Director of National Intelligence under Rule 6, may be
                                    punished as a contempt of court.

                             While it is often difficult by nature to know prior to an investigation who is

                     responsible for leaks, a pattern of a persistent torrent of leaks, considering their nature,

                     makes it clear that the majority of these leaks are coming from Special Counsel Robert

                     Mueller and his staff, most of whom are suffering from serious conflicts of interest. The

                     nature as well as the quantity of these leaks makes it clear that they are coming from the

                     DoJ and/or FBI, and his legal staff, which are technically under the direction and control

                     and authority of DoJ as well, egregiously under Special Counsel Mueller's direction.

                             Thus, Mr. Mueller as Special Counsel and his staff are subject to the requirements

                     incumbent upon all DoJ personnel. DoJ regulations are extended to a Special Counsel

                     under 28 C.F.R. § 600.7.

                             28 C.F.R. § 600.7 Conduct and accountability.

                             (a) A Special Counsel shall comply with the rules, regulations,
                             procedures, practices and policies of the Department of Justice. He or she
                             shall consult with appropriate offices within the Department for guidance
                             with respect to established practices, policies and procedures of the
                             Department, including ethics and security regulations and procedures.
                             Should the Special Counsel conclude that the extraordinary circumstances




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                             of any particular decision would render compliance with required review
                             and approval procedures by the designated Departmental component
                             inappropriate, he or she may consult directly with the Attorney General.

                             (b) The Special Counsel shall not be subject to the day-to-day supervision
                             of any official of the Department. However, the Attorney General may
                             request that the Special Counsel provide an explanation for any
                             investigative or prosecutorial step, and may after review conclude that the
                             action is so inappropriate or unwarranted under established Departmental
                             practices that it should not be pursued. In conducting that review, the
                             Attorney General will give great weight to the views of the Special
                             Counsel. If the Attorney General concludes that a proposed action by a
                             Special Counsel should not be pursued, the Attorney General shall notify
                             Congress as specified in § 600.9(a)(3).

                             (c) The Special Counsel and staff shall be subject to disciplinary action for
                             misconduct and breach of ethical duties under the same standards and to
                             the same extent as are other employees of the Department of Justice.
                             Inquiries into such matters shall be handled through the appropriate office
                             of the Department upon the approval of the Attorney General.

                             (d) The Special Counsel may be disciplined or removed from office only
                             by the personal action of the Attorney General. The Attorney General may
                             remove a Special Counsel for misconduct, dereliction of duty, incapacity,
                             conflict of interest, or for other good cause, including violation of
                             Departmental policies. The Attorney General shall inform the Special
                             Counsel in writing of the specific reason for his or her removal.

                             These requirements include:

                             28 U.S. Code § 530B - Ethical standards for attorneys for the Government

                             (a) An attorney for the Government shall be subject to State laws and rules, and
                             local Federal court rules, governing attorneys in each State where such attorney
                             engages in that attorney’s duties, to the same extent and in the same manner as
                             other attorneys in that State.

                             (b) The Attorney General shall make and amend rules of the Department of
                             Justice to assure compliance with this section.

                             (c) As used in this section, the term “attorney for the Government” includes any
                             attorney described in section 77.2(a) of part 77 of title 28 of the Code of Federal
                             Regulations and also includes any independent counsel, or employee of such a
                             counsel, appointed under chapter 40.




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                             § 3801.101 General

                             In accordance with § 2635.105 of this title, the regulations in this part
                             apply to employees of the Department of Justice and supplement the
                             Standards of Ethical Conduct for Employees of the Executive Branch in
                             part 2635 of this title. In addition to the regulations contained in part 2635
                             of this title and in this part, employees are subject to the conduct
                             regulations contained in part 735 of this title and 28 CFR part 45.

                             28 CFR § 45.12 Reporting to the Department of Justice Office of
                             Professional Responsibility.

                             Department employees have a duty to, and shall, report to the Department
                             of Justice Office of Professional Responsibility (DOJ-OPR), or to their
                             supervisor, or their component's internal affairs office for referral to DOJ-
                             OPR, any allegations of misconduct by a Department attorney that relate
                             to the exercise of the attorney's authority to investigate, litigate or provide
                             legal advice, as well as allegations of misconduct by law enforcement
                             personnel when such allegations are related to allegations of attorney
                             misconduct within the jurisdiction of DOJ-OPR.

                             No DoJ employee may participate in a criminal investigation or prosecution if he

                     has a personal or political relationship with any person or organization substantially

                     involved in the conduct that is the subject of the investigation or prosecution, or who

                     would be directly affected by the outcome. 28 CFR 45.2

                             What Mueller's staff is focused on and even what they are thinking are being

                     regularly reported in the news media. Note that the following news report governs not

                     merely that questions have been asked but what topics dominate the Special Counsel's

                     investigation and why.

                                    Federal investigators working for Special Counsel Robert
                                    Mueller are keenly focused on President Donald Trump's
                                    role in crafting a response to a published article about a
                                    meeting between Russians and his son Donald Jr., three
                                    sources familiar with the matter told NBC News.




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                                    The sources told NBC News that prosecutors want to know
                                    what Trump knew about the meeting and whether he
                                    sought to conceal its purpose.

                     Julia Ainsley and Tom Winter, "Mueller Team Asking if Trump Tried to Hide Purpose of
                     Trump Tower Meeting," NBC News, August 28, 2017, accessible at:
                     https://www.nbcnews.com/news/us-news/mueller-team-asking-if-trump-tried-hide-
                     purpose-trump-tower-n796746

                             The activities and progress of Special Counsel Robert Mueller's staff of Democrat

                     party donors have been reported in the news media on an almost daily basis.

                                    One year after the FBI opened an investigation, the probe is
                                    now managed by special counsel Robert Mueller. Sources
                                    described an investigation that has widened to focus on
                                    possible financial crimes, some unconnected to the 2016
                                    elections, alongside the ongoing scrutiny of possible illegal
                                    coordination with Russian spy agencies and alleged
                                    attempts by President Donald Trump and others to obstruct
                                    the FBI investigation. Even investigative leads that have
                                    nothing to do with Russia but involve Trump associates are
                                    being referred to the special counsel to encourage subjects
                                    of the investigation to cooperate, according to two law
                                    enforcement sources.
                                                   ***
                                    In recent weeks, investigators have also started looking into
                                    the June 2016 meeting in Trump Tower and how the White
                                    House responded to news of that meeting. The session
                                    included Trump Jr., Manafort, Trump's senior adviser and
                                    son-in-law Jared Kushner, and a Russian attorney.

                     Evan Perez, Pamela Brown and Shimon Prokupecz, "One year into the FBI's Russia
                     investigation, Mueller is on the Trump money trail," CNN, August 4, 2017, accessible at:
                     http://www.cnn.com/2017/08/03/politics/mueller-investigation-russia-trump-one-year-
                     financial-ties/index.html

                             It is also clear that the leaks are not coming from those being investigated:

                                    In response to this CNN story, the President's attorney, Jay
                                    Sekulow, said, "President's outside counsel has not
                                    received any requests for documentation or information
                                    about this. Any inquiry from the special counsel that goes
                                    beyond the mandate specified in the appointment we would
                                    object to."




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                     Id.

                             The daily activities of the Special Counsel's office are routinely disclosed to

                     journalists. As a result, The New York Times learned through a leak what evidence the

                     Special Counsel is obtaining and presenting to the grand jury.

                                    The special counsel, Robert S. Mueller III, has obtained a
                                    letter drafted by President Trump and a top political aide
                                    that offered an unvarnished view of Mr. Trump’s thinking
                                    in the days before the president fired the F.B.I. director,
                                    James B. Comey.

                                    The circumstances and reasons for the firing are believed to
                                    be a significant element of Mr. Mueller’s investigation,
                                    which includes whether Mr. Trump obstructed justice by
                                    firing Mr. Comey.

                     Michael S. Schmidt and Maggie Haberman, "Mueller Has Early Draft of Trump Letter
                     Giving Reasons for Firing Comey," The New York Times, September 1, 2017, accessible
                     at: https://mobile.nytimes.com/2017/09/01/us/politics/trump-comey-firing-letter.html

                             Similarly:

                                    Trump ended up shelving that letter in favor of a far shorter
                                    one, but the draft has taken on new significance in the
                                    probe by special counsel Robert S. Mueller III, who is
                                    examining it as he determines whether Trump’s firing of
                                    Comey was part of an effort to obstruct justice, according
                                    to people with knowledge of the investigation.
                                                    ***
                                    Mueller will weigh the narrative with other events that led
                                    up to Comey’s firing, including Comey’s account of
                                    Trump’s efforts to intercede by requesting that the FBI
                                    director drop an investigation of former national security
                                    adviser Michael Flynn.

                     Rosalind S. Helderman, Carol D. Leonnig and Ashley Parker, "Mueller examining
                     Trump’s draft letter firing FBI Director Comey," The Washington Post, Sept. 1, 2017

                             Furthermore, the leaks are not coming from the Trump team:




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                                    “I can’t comment on anything the special counsel might be
                                    interested in,” White House attorney Ty Cobb said. “But
                                    this White House is committed to being open and
                                    transparent with the special counsel’s investigation.”

                     Id.

                           The news media knows exactly what Special Counsel Mueller and his
                     compromised staff is doing on a daily basis:

                                    The letter Mueller is reviewing was drafted by Trump
                                    along with policy adviser Stephen Miller, and legal experts
                                    say it is possibly the most critical piece of evidence in
                                    Mueller's obstruction-of-justice case since Comey's
                                    testimony before the Senate Intelligence Committee in
                                    June, because it can give prosecutors a direct window into
                                    Trump's thinking shortly before he fired Comey.

                     Sonam Sheth, "Mueller's investigation just got a boost and another Trump associate
                     may be in its crosshairs," Business Insider, September 2, 2017, accessible at:
                     http://www.businessinsider.com/stephen-miller-trump-letter-comey-firing-obstruction-of-
                     justice-mueller-russia-investigation-2017-9

                                    Special counsel Robert Mueller increasingly views
                                    President Donald Trump’s trip back from the G-20 summit
                                    in Europe this July as a critical moment in his investigation.
                                    And as part of an attempt to uncover just what happened on
                                    that fateful flight, his team is expected to question several
                                    White House officials. Among them will be the president’s
                                    close adviser Hope Hicks.

                                    People familiar with the probe tell The Daily Beast that
                                    Hicks the longtime Trump aide who is currently interim
                                    White House communications director likely has
                                    information that will interest Mueller regarding Donald
                                    Trump Jr.’s initial claim that his meeting with the Kremlin-
                                    linked lawyer Natalia Veselnitskaya was just about
                                    adoption.

                                    “No doubt in my mind she is going to be a witness,” a
                                    source familiar with the Mueller probe told The Daily
                                    Beast.

                                    On Friday, The Washington Post reported that Hicks
                                    wasn’t alone on Mueller’s radar. Former White House chief




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                             Federal investigators working for Special Counsel Robert Mueller are
                             keenly focused on President Donald Trump's role in crafting a response to
                             a published article about a meeting between Russians and his son Donald
                             Jr., three sources familiar with the matter told NBC News. The sources
                             told NBC News that prosecutors want to know what Trump knew about
                             the meeting and whether he sought to conceal its purpose.

                     Julia Ainsley And Tom Winter, "Mueller Team Asking if Trump Tried to Hide Purpose
                     of Trump Tower Meeting," NBC News, August 28, 2017, accessible at
                     https://www.nbcnews.com/news/us-news/mueller-team-asking-if-trump-tried-hide-
                     purpose-trump-tower-n796746

                             The U.S. special counsel investigating possible ties between the Donald
                             Trump campaign and Russia in last year’s election is examining a broad
                             range of transactions involving Trump’s businesses as well as those of his
                             associates, according to a person familiar with the probe.

                             FBI investigators and others are looking at Russian purchases of
                             apartments in Trump buildings, Trump’s involvement in a controversial
                             SoHo development in New York with Russian associates, the 2013 Miss
                             Universe pageant in Moscow and Trump’s sale of a Florida mansion to a
                             Russian oligarch in 2008, the person said.

                             The investigation also has absorbed a money-laundering probe begun by
                             federal prosecutors in New York into Trump’s former campaign chairman
                             Paul Manafort.

                     Greg Farrell and Christian Berthelsen, "Mueller Expands Probe to Trump Business
                     Transactions,"    Bloomberg    news,      July    20,    2017,      accessible    at:
                     https://www.bloomberg.com/news/articles/2017-07-20/mueller-is-said-to-expand-probe-
                     to-trump-business-transactions

                             Mr. Mueller's investigative contacts and collaboration with the Internal Revenue

                     Service were promptly leaked to the news media:

                             Special counsel Bob Mueller has teamed up with the IRS. According to
                             sources familiar with his investigation into alleged Russian election
                             interference, his probe has enlisted the help of agents from the IRS’
                             Criminal Investigations unit.

                     Betsy Woodruff, "Mueller Enlists the IRS for His Trump-Russia Investigation," The
                     Daily Beast, August 31, 2017, accessible at: http://www.thedailybeast.com/exclusive-
                     mueller-enlists-the-irs-for-his-trump-russia-investigation




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                             Details from the investigation are being regularly reported to the news media:

                                    As the Robert Mueller investigation intensifies, new details
                                    are being leaked about the direction the probe is going.
                                    Buried in a story about the intensifying relationship
                                    between Mueller and Congress, CNN revealed some very
                                    interesting information. According to the report, Mueller’s
                                    team may have obtained evidence in the raid of Paul
                                    Manafort’s home that was not covered by the search
                                    warrant.

                                            ***

                                    During that raid, Mueller’s investigators took documents
                                    considered to be covered by attorney-client privilege,
                                    sources told CNN. Lawyers from the WilmerHale law firm,
                                    representing Manafort at the time, warned Mueller’s office
                                    that their search warrant didn’t allow access to attorney
                                    materials. The documents in question have now been
                                    returned, the sources say

                     Rachel Stockman, "Mueller Team’s Apparent ‘Mistake’ Could Screw Their Case Against
                     Manafort," LAW NEWZ, September 5th, 2017, accessible at:
                     https://lawnewz.com/opinion/mueller-teams-apparent-mistake-could-screw-their-case-
                     against-manafort/

                             Mr. Mueller's core investigative and prosecution strategies have been leaked to

                     the news media and publicly revealed:

                                      U.S. investigators examining money laundering
                                    accusations against President Donald Trump’s former
                                    campaign manager Paul Manafort hope to push him to
                                    cooperate with their probe into possible collusion between
                                    Trump’s campaign and Russia, two sources with direct
                                    knowledge of the investigation said.

                                       Special Counsel Robert Mueller’s team is examining
                                    Manafort’s financial and real estate records in New York as
                                    well as his involvement in Ukrainian politics, the officials
                                    said.

                                     Between 2006 and 2013, Manafort bought three New
                                    York properties, including one in Trump Tower in
                                    Manhattan. He paid for them in full and later took out




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                                    mortgages against them. A former senior U.S. law
                                    enforcement official said that tactic is often used as a
                                    means to hide the origin of funds gained illegally. Reuters
                                    has no independent evidence that Manafort did this.

                                       The sources also did not say whether Mueller has
                                    uncovered any evidence to charge Manafort with money
                                    laundering, but they said doing so is seen by investigators
                                    as critical in getting his full cooperation in their
                                    investigation.

                                       “If Mueller’s team can threaten criminal charges against
                                    Manafort, they could use that as leverage to convince him
                                    to cooperate,” said one of the sources.

                     Julia Edwards Ainsley and John Walcott, "U.S. investigators seek to turn Manafort in
                     Russia probe: sources," Reuters, July 22, 2017

                             However, this is not coming from Manafort or his legal team, who deny the

                     information being leaked and say it is false. The information is being leaked by Special

                     Counsel Mueller's office:

                                      Manafort’s spokesman, Jason Maloni, said, “Paul
                                    Manafort is not a cooperating witness. Once again there is
                                    no truth to the disinformation put forth by anonymous
                                    sources and leakers.”
                     Id.

                             Details about Mr. Mueller's sharing investigative information and procedures, as

                     well as collaborating with the Attorney General's office of the State of New York -- also

                     itself subject to confidentiality of criminal investigations as well -- were promptly leaked

                     to the news media. It should be emphasized that Attorney General Schneiderman's office

                     is restricted from sharing these details as much as Mr. Mueller's office is restricted.

                                    Special counsel Robert Mueller’s team is working with
                                    New York Attorney General Eric Schneiderman on its
                                    investigation into Paul Manafort and his financial
                                    transactions, according to several people familiar with the
                                    matter.




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                                    The cooperation is the latest indication that the federal
                                    probe into President Donald Trump’s former campaign
                                    chairman is intensifying. It also could potentially provide
                                    Mueller with additional leverage to get Manafort to
                                    cooperate in the larger investigation into Trump’s
                                    campaign, as Trump does not have pardon power over state
                                    crimes.

                                    The two teams have shared evidence and talked frequently
                                    in recent weeks about a potential case, these people said.
                                    One of the people familiar with progress on the case said
                                    both Mueller’s and Schneiderman’s teams have collected
                                    evidence on financial crimes, including potential money
                                    laundering.

                     Josh Dawsey, "Mueller teams up with New York attorney general in Manafort probe,"
                     Politico, August 30, 2017, http://www.politico.com/story/2017/08/30/manafort-mueller-
                     probe-attorney-general-242191

                             Details of Mr. Mueller's investigation including focusing on possible obstruction

                     of justice by President Donald Trump and his campaign were promptly dumped into the

                     public realm in the news media. It should be noted that government officials interviewed

                     would not themselves be free to disclose information about their interviews:

                             The move by special counsel Robert S. Mueller III to investigate Trump’s
                             conduct marks a major turning point in the nearly year-old FBI
                             investigation, which until recently focused on Russian meddling during
                             the presidential campaign and on whether there was any coordination
                             between the Trump campaign and the Kremlin. Investigators have also
                             been looking for any evidence of possible financial crimes among Trump
                             associates, officials said.

                     Devlin Barrett, Adam Entous, Ellen Nakashima and Sari Horwitz, " Special counsel
                     Mueller is investigating Trump for possible obstruction of justice," The Washington Post,
                     June 14, 2017

                             The Washington Post has published an extraordinary continuing flow of details of

                     the grand jury proceedings and investigative activities of Mr. Mueller's office. The

                     Washington Post




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                             ... reported that Mueller was examining whether Trump has tried to
                             obstruct justice and was seeking interviews with three administration
                             officials: Dan Coats, the director of national intelligence; Michael Rogers,
                             the head of the National Security Agency; and Richard Ledgett, the former
                             NSA deputy director.

                             Mark Corallo, a spokesman for Trump's personal lawyer, responded
                             Wednesday evening to the Post report by saying: "The FBI leak of
                             information regarding the president is outrageous, inexcusable and
                             illegal."

                     "Trump administration rips leaks surrounding Mueller probe," Fox News, June 16, 2017,
                     accessible at: http://www.foxnews.com/politics/2017/06/16/trump-administration-rips-
                     leaks-surrounding-mueller-probe.html

                             Leaks of confidential information from the criminal prosecution hit The Wall

                     Street Journal on August 31, 2017, Peter Nicholas, Erica Orden and Paul Sonne, "Trump

                     Attorneys Lay Out Arguments Against Obstruction-of-Justice Probe to Mueller" The

                     Wall Street Journal. An extraordinary array of documents obtained from Mr. Mueller's

                     office are summarized and discussed in this article, including identifying specific

                     meetings with Mr. Mueller in the Special Counsel's office:

                                    Lawyers for Donald Trump have met several times with
                                    special counsel Robert Mueller in recent months and
                                    submitted memos arguing that the president didn’t obstruct
                                    justice by firing former FBI chief James Comey and calling
                                    into question Mr. Comey’s reliability as a potential witness,
                                    people familiar with the matter said.

                             In the article, the reporters chronicle that the Trump administration and Trump's

                     private lawyers would not comment on the memos or the story at all, indicating that they

                     were not the source of the leaks. Mr. Mueller's office leaked the memos and information.

                                    Special counsel Robert S. Mueller III has alerted the White
                                    House that his team will probably seek to interview six top
                                    current and former advisers to President Trump who were
                                    witnesses to several episodes relevant to the investigation
                                    of Russia’s meddling in the 2016 election, according to




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                                    people familiar with the request.

                                    Mueller’s interest in the aides, including trusted adviser
                                    Hope Hicks, former press secretary Sean Spicer and former
                                    chief of staff Reince Priebus, reflects how the probe that
                                    has dogged Trump’s presidency is starting to penetrate a
                                    closer circle of aides around the president.

                     Carol D. Leonnig, Rosalind S. Helderman and Ashley Parker, "Mueller gives White
                     House names of 6 aides he expects to question in Russia probe," The Washington Post,
                     September 8, 2017, accessible at: https://www.washingtonpost.com/politics/spicer-
                     priebus-hicks-among-six-current-and-former-trump-aides-mueller-has-expressed-interest-
                     in-interviewing-for-russia-probe/2017/09/08/3b32779e-949a-11e7-aace-
                     04b862b2b3f3 story.html?

                             Furthermore, Mr. Mueller convened a second grand jury in the District of

                     Columbia after already convening a grand jury in the Eastern District of Virginia at

                     Alexandria, Virginia. Because jurors are drawn from voter rolls, and Donald Trump

                     received only 4.1% of the vote in the District of Columbia for president on November 8,

                     2016, Mr. Mueller's efforts at juror shopping are not only unethical but fail to provide the

                     public an assurance of the appearance of integrity in these proceedings. The grand jury in

                     Virginia would have had all the authority necessary to consider evidence across the river

                     in Washington, D.C. Furthermore, Donald Trump's campaign was headquartered in

                     Manhattan in New York City, New York. Therefore, there is no valid reason for an

                     investigation of the 2016 presidential campaign to be sited in Washington, D.C. The

                     appearance is that the grand jury convened in Virginia was skeptical of Mr. Mueller's

                     presentations and Mr. Mueller sought a different group of grand jurors.

                             Mr. Mueller was appointed because Attorney General Jeff Sessions needlessly

                     recused himself from overseeing an investigation into a fanciful theory that we now know

                     was invented by the Hillary Clinton presidential campaign in their deliberations within 24




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                     hours of suffering an unexpected loss in the November 8, 2016 presidential campaign. 1

                     Out of an abundance of caution, Sessions bent over backwards to avoid even the slightest

                     appearance of bias or conflict of interest and recused himself.

                             Thus, Mr. Mueller was appointed as Special Counsel to uphold the highest

                     standards of integrity and avoid even a hint of any impropriety in an investigation of a

                     theory that there might have been some collusion between the presidential campaign of

                     Donald Trump and the Russian Federation.

                             Because the theory has been discredited, the damage of continuing leaks to the

                     reputation of innocent persons is especially harmful.       The more the myth of collusion

                     between Russia and the Trump presidential campaign unravels, the more the flow of

                     leaks accelerates each day.

                             Meanwhile, Rule 1:7 of D.C.'s Rules of Professional Conduct -- Mr. Mueller's

                     office and operations being in the District of Columbia and Ms. Rhee licensed by the

                     District of Columbia Bar -- require:

                                    A lawyer who has formerly represented a client in a matter
                                    shall not thereafter represent another person in the same or
                                    a substantially related matter in which that person’s

                     1
                             All nations spy on each other, such as the United States hacking Angela Merkel,
                     German Chancellor. Of course Russia and China persistently try to hack government and
                     private computer networks in the U.S.A. However, forensic investigation now reveals
                     that Clinton campaign emails from the Democrat National Committee were copied at
                     extraordinarily high speech (impossible over an internet connection) on to a thumb drive
                     physically plugged into the DNC's computer system. "On the evening of July 5, 2016,
                     1,976 megabytes of data were downloaded from the DNC’s server. The operation took 87
                     seconds. This yields a transfer rate of 22.7 megabytes per second. These statistics are
                     matters of record and essential to disproving the hack theory. No Internet service
                     provider, such as a hacker would have had to use in mid-2016, was capable of
                     downloading data at this speed." Patrick Lawrence, "A New Report Raises Big
                     Questions About Last Year’s DNC Hack," The Nation, August 9, 2017;
                     https://www.thenation.com/article/a-new-report-raises-big-questions-about-last-years-dnc-hack/




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                                    interests are materially adverse to the interests of the
                                    former client unless the former client gives informed
                                    consent.

                             28 CFR § 45.2 Disqualification arising from personal or political
                             relationship.

                             (a) Unless authorized under paragraph (b) of this section, no employee
                             shall participate in a criminal investigation or prosecution if he has a
                             personal or political relationship with:

                             (1) Any person or organization substantially involved in the conduct that
                             is the subject of the investigation or prosecution; or

                             (2) Any person or organization which he knows has a specific and
                             substantial interest that would be directly affected by the outcome of the
                             investigation or prosecution.

                             (b) An employee assigned to or otherwise participating in a criminal
                             investigation or prosecution who believes that his participation may be
                             prohibited by paragraph (a) of this section shall report the matter and all
                             attendant facts and circumstances to his supervisor at the level of section
                             chief or the equivalent or higher. If the supervisor determines that a
                             personal or political relationship exists between the employee and a person
                             or organization described in paragraph (a) of this section, he shall relieve
                             the employee from participation unless he determines further, in writing,
                             after full consideration of all the facts and circumstances, that:
                                     (1) The relationship will not have the effect of rendering
                                     the employee's service less than fully impartial and
                                     professional; and
                                     (2) The employee's participation would not create an
                                     appearance of a conflict of interest likely to affect the
                                     public perception of the integrity of the investigation or
                                     prosecution.
                             (c) For the purposes of this section:
                                     (1)Political relationship means a close identification with
                                     an elected official, a candidate (whether or not successful)
                                     for elective, public office, a political party, or a campaign
                                     organization, arising from service as a principal adviser
                                     thereto or a principal official thereof; and
                                     (2)Personal relationship means a close and substantial
                                     connection of the type normally viewed as likely to induce
                                     partiality. An employee is presumed to have a personal
                                     relationship with his father, mother, brother, sister, child
                                     and spouse. Whether relationships (including friendships)




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                                     of an employee to other persons or organizations are
                                     “personal” must be judged on an individual basis with due
                                     regard given to the subjective opinion of the employee.
                             (d) This section pertains to agency management and is not intended to
                             create rights enforceable by private individuals or organizations.
                             [Order No. 993-83, 48 FR 2319, Jan. 19, 1983. Redesignated at 61 FR
                             59815, Nov. 25, 1996]


                             Special Counsel Mueller has been charged with investigating whether or not

                     Russia interfered in the U.S. presidential election in the 2015-2016 election cycle, and if

                     so to what extent and in what ways and whether in collusion with any U.S. campaigns or

                     institutions.

                             But Mueller's office has a conflict of interest in exploring all of the alternatives

                     and following the evidence where it leads. If the evidence shows that Russia intervened

                     in the election in relation to Hillary Clinton's support for the sale of twenty percent (20%)

                     of the uranium mining reserves of the United States to the Russian Federation as the

                     leading member of the inter-governmental decision-making body the Committee on

                     Foreign Investment in the United States (CFIUS), Mueller and his team would be

                     ethically prohibited from honestly investigating and exploring the truth.

                             Special Counsel Mueller's investigation turns on the credibility and personal

                     interests of Mueller's long-term colleague and close friend former FBI Director James

                     Comey. Not only will the investigation impact Comey, but Mueller must judge his own

                     friend's credibility as a witness.

                                     A Republican congressman is calling on Special
                                     Counsel Robert Mueller to resign from his role leading the
                                     Russia investigation, citing the investigator’s friendship
                                     with former FBI Director James B. Comey.




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                                    Rep. Trent Franks said Mr. Mueller’s relationship with Mr.
                                    Comey should make him ineligible to lead a probe of
                                    Russian interference in the presidential election and any
                                    possible coordination with the Trump campaign the
                                    investigation includes whether the president fired the FBI
                                    director in an effort to undermine the investigation.

                                    “Those who worked under them have attested he and Jim
                                    Comey possess a close friendship, and they have delivered
                                    on-the-record statements effusing praise of one another,”
                                    Mr. Franks, Arizona Republican, said in a statement issued
                                    Tuesday. “No one knows Mr. Mueller’s true intentions, but
                                    neither can anyone dispute that he now clearly appears to
                                    be a partisan arbiter of justice.”

                                    Mr. Franks, a member of the House Judiciary Committee,
                                    cited federal law that prevents the special counsel from
                                    serving in the role if the person has a conflict of interest.
                                    In Mr. Mueller’s case, the lawmaker said that conflict is “a
                                    personal relationship with any person substantially
                                    involved in the conduct that is the subject of the
                                    investigation.”

                     Andrea Noble, "[Congressman] Trent Franks: Mueller must resign from Russia probe
                     because of long friendship with Comey," The Washington Times, August 1, 2017

                                    Just over a week after President Donald Trump fired James
                                    Comey as FBI director, the Department of Justice
                                    appointed Comey's predecessor, former FBI Director
                                    Robert Mueller, as special counsel for the investigation into
                                    Russian attempts to influence the 2016 election.

                                    The two former FBI chiefs have a unique relationship,
                                    stemming in large part from working side by side during a
                                    major confrontation with the Bush administration.

                                    By sheer coincidence, this week marked 10 years since
                                    Comey gave his bombshell testimony before the Senate
                                    Judiciary Committee about the showdown with President
                                    George W. Bush's White House. It began in 2004, when
                                    Comey refused to reauthorize an NSA spying program.

                                    Comey was deputy attorney general at the time, and was
                                    serving as the acting head of the Justice Department while
                                    Attorney General John Ashcroft was in the hospital.




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                     Eli Watkins, "Mueller and Comey have a history," CNN Politics, May 17, 2017,
                     accessible at: http://www.cnn.com/2017/05/17/politics/james-comey-robert-
                     mueller/index.html

                             As recently as 2009, then Director of the FBI Robert Mueller personally carried

                     samples of highly-enriched uranium to Moscow, as shown in official diplomatic cables

                     that have been publicly released. While Mueller's involvement in transporting uranium

                     samples to the Russian Federation may have been proper 2 the task of the Special Counsel

                     is to give public confidence and the appearance of enhanced integrity in the Russian

                     collusion investigation. Compared with the professional permanent staff of the FBI and

                     DoJ, Mueller cannot offer public confidence in the investigation having personally

                     worked with Russia on such high level issues.

                                     6. (S/Rel Russia) Action request: Embassy Moscow is
                                     requested to alert at the highest appropriate level the
                                     Russian Federation that FBI Director Mueller plans to
                                     deliver the HEU [Highly-Enriched Uranium] sample once
                                     he arrives to Moscow on September 21.

                     "Robert Mueller delivering highly enriched stolen Uranium to Russia WikiLeaks
                     cable," Voice of the People Today, May 18, 2017, accessible at:
                     https://voiceofpeopletoday.com/robert-mueller-delivering-highly-enriched-stolen-
                     uranium-russia-wikileaks-cable/

                             Mr. Mueller knowingly hired an attorney who had previously -- within the last

                     year -- represented the Clinton Foundation of whom Hillary Clinton and Bill Clinton are

                     principals.    Attorney Jeannie S. Rhee, D.C. Bar No. 464127 was ethically required to

                     2
                            "(S/NF) Background: Over two years ago Russia requested a ten-gram sample of
                     highly enriched uranium (HEU) seized in early 2006 in Georgia during a nuclear
                     smuggling sting operation involving one Russian national and several Georgian
                     accomplices. The seized HEU was transferred to U.S. custody and is being held at a
                     secure DOE facility. In response to the Russian request, the Georgian Government
                     authorized the United States to share a sample of the material with the Russians for
                     forensic analysis."




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                     decline a position that places her in a conflict of interest as a staff attorney for Mr.

                     Mueller. Having previously represented the Clinton Foundation as an attorney, including

                     its Board of Directors and principals Hillary Clinton, Bill Clinton, Chelsea Clinton, and

                     Former Counselor of the U.S. Department of State Cheryl Mills, Rhee cannot investigate,

                     work on, or prosecute the topics related to the investigation of collusion by the Russian

                     Federation with the presidential campaign of Donald Trump running against Hillary

                     Clinton. Rhee's involvement contaminates the entire investigation by Mueller's office.

                             Furthermore, as her supervisor and a supervising attorney, Robert Mueller is

                     committing ethical violations by directing an attorney to violate the ethical requirements

                     of the Department of Justice and of the District of Columbia Bar. Mueller's hiring of

                     Rhee -- and others -- is in itself an ethical violation of DoJ standards and professional

                     rules. However, Mr. Mueller's refusal to correct this unethical conduct speaks volumes

                     and loudly proclaims the true nature of Mueller's intentions and undertakings.

                             As recently as 2016, Rhee represented the Clinton Foundation against my

                     lawsuit's allegations, "Larry Klayman: RICO Lawsuit Against Clintons Is Set,"

                     Newsmax, May 29, 2015,           http://www.newsmax.com/Newsmax-Tv/larry-klayman-

                     racketeering-lawsuit-bill-clinton/2015/05/29/id/647620/     that Hillary Clinton sold

                     government favors in return for bribes, including by approving the sale of 20% of

                     America's uranium mine reserves to Russia, and concealed the racketeering enterprise

                     with her private email server.     Josh Gerstein, "Clinton Foundation: Toss 'fatuous'

                     racketeering     lawsuit,"     Politico,    June      10,     2015,     accessible       at:

                     http://www.politico.com/blogs/under-the-radar/2015/06/clinton-foundation-toss-fatuous-

                     racketeering-lawsuit-208595.




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                             Now, Jeannie Rhee is investigating Donald Trump's alleged Russian collusion

                     with Russia during the 2016 presidential campaign as one of Mueller's top lawyers. With

                     Mueller's experience, he knows that the lawyers he is hiring will be legally prevented

                     from following the evidence wherever it leads. One must infer that Mueller intends a

                     hatchet job on President Trump in retaliation for James Comey's firing from head of the

                     FBI.

                             Legally Rhee can only investigate Trump, even if the evidence might show that

                     Hillary Clinton -- through Rhee's former (recent) client the Clinton Foundation -- actually

                     colluded with Russia instead or that leaked emails from Hillary Clinton's campaign were

                     leaked by DNC employee Seth Rich. Rhee is not ethically or legally allowed to look into

                     alternative theories or any of the outrageous leaks from the deep state defending Hillary

                     Clinton's loss, the disclosure of Clinton campaign emails to Wikileaks, etc.

                             Two other lawyers on Mueller's team gave the maximum $2,700 donation to

                     Hillary Clinton in last year's election. Three of Mueller's team Weissmann, Rhee, and

                     Quarles alone donated more than $50,000 to Democrats, Marshall Cohen, "Special

                     counsel team members donated to Dems, FEC records show," CNN, June 13, 2017,

                     accessible     at:     http://www.cnn.com/2017/06/12/politics/robert-mueller-donations-

                     democrats-fec/index.html, and almost exclusively to Democrats, according to Federal

                     Election Commission campaign finance reports.

                             All told, more than half of Mueller's massive team of lawyers are donors to the

                     Democrat party investigating the presidential campaign of a Republican Donald Trump.

                     Alexi McCammond, "Meet Bob Mueller's team tackling the Russia probe," AXIOS, June

                     18, 2017, accessible at:https://www.axios.com/meet-bob-muellers-dream-team-tackling-




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                     the-russia-investigation-2443472267.html

                             This behavior is the most egregious example of ethically-questionable behavior

                     that I can recall in the DoJ's history, at least since the tongue-lashing from Judge Emmet

                     G. Sullivan of the United States District Court for the District of Columbia on April 7,

                     2009, in the bungled prosecution of former Senator Ted Stevens, not to mention other

                     egregious violations of ethics in other cases of late.        Anna Stolley Persky , "A

                     Cautionary Tale: The Ted Stevens Prosecution," republished Washington Lawyer

                     (publication of the District of Columbia Bar), October 2009

                             Simply put, after a swift and thorough bona fide investigation      one that is not

                     whitewashed by the establishment if not so called “Deep State” within the DoJ -- Special

                     Counsel Mueller must be removed as Special Counsel, as well as his conflicted staff, and

                     this matter referred back to DoJ for the appointment of a new and ethical Special Counsel

                     who will uphold his or her oath of office, rather than playing sleazy partisan politics with

                     secret grand jury proceedings and this serious and important matter in general. In

                     addition, other appropriate remedies much be considered and then implemented and

                     imposed, such as prosecution of those directly and indirectly responsible for the grand

                     jury leaks, including but not limited to Special Counsel Mueller and his equally

                     conflicted staff.

                             An investigation into this extraordinary flow of leaks from criminal prosecutors,

                     almost unprecedented in the history of the U.S. government is of paramount importance.

                     The public already cynical and distrusting of the government, with a society appearing to

                     be on the verge of civil unrest or even civil war, needs to know that their government can

                     be trusted to follow its own rules and live by integrity and ethics in carrying out these




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                     Washington, DC, 20530

                     Hon. Don McGahn
                     White House Counsel
                     The White House
                     1600 Pennsylvania Ave, NW
                     Washington, DC, 20500




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                     VIA FEDERAL EXPRESS                                 EXPEDITED PROCESSING AND
                                                                         TREATMENT REQUESTED

                     September 13, 2017

                     Hon. Robin C. Ashton
                     Chief
                     Office of Professional Responsibility
                     950 Pennsylvania Avenue, NW #3266
                     Washington, DC 20530

                     Hon. Michael E. Horowitz
                     Inspector General
                     U.S. Department of Justice
                     950 Pennsylvania Ave, NW, #4706
                     Washington, DC 20530

                     RE:     SUPPLEMENT TO COMPLAINT AGAINST SPECIAL COUNSEL
                             ROBERT MUELLER AND STAFF AND REQUEST FOR EXPEDITED
                             INVESTIGATION INTO GROSS PROSECUTORIAL MISCONDUCT OF
                             PROSECUTING ATTORNEYS

                     Dear Ms. Ashton and Mr. Horowitz:

                             Freedom Watch, Inc. and I hereby submit the following supplement to its

                     Complaint and Request for The Office of Professional Responsibility and Inspector

                     General must thoroughly investigate the torrent of leaks, and to the extent Department of

                     Justice (“DoJ”) or Federal Bureau of Investigation ("FBI") personnel are leaking

                     investigative and/or grand jury evidence, presentations, witness testimony, or

                     proceedings, discipline, terminate, and/or prosecute those responsible, which was

                     recently filed with your offices.

                             The enclosed disclosure from NBC News shows that the leaks set forth in detail in




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                     Cc:

                     Hon. Jeff Sessions (via email and mail)
                     Attorney General of the United States
                     U.S. Department of Justice
                     950 Pennsylvania Ave, NW
                     Washington, DC, 20530

                     Hon. Rod Rosenstein (via federal express and mail)
                     Deputy Attorney General of the United States
                     U.S. Department of Justice
                     950 Pennsylvania Ave, NW
                     Washington, DC, 20530

                     Hon. Don McGahn (via federal express and mail)
                     White House Counsel
                     The White House
                     1600 Pennsylvania Ave, NW
                     Washington, DC, 20500




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        EXCLUSIVE NEWS SEP 1 3 201 7, 5:00 PM ET

        Mike Flynn’s Son Is Subject of Federal Russia Probe
        by CAROL E. LEE, JULIA AINSLEY and KEN DILANIAN
        WASHINGTON — Michael G. Flynn, the son of President Donald Trump's former national security
        adviser, is a subject of the federal investigation into Russian meddling in the presidential election and
        possible collusion between Moscow and the Trump campaign, according to four current and former
        government oﬃcials.

        The inquiry into Flynn is focused at least in part on his work with his father's lobbying ﬁrm, Flynn Intel
        Group, three of the oﬃcials said. It's unclear when the focus on Flynn began.

        Barry Coburn, who said he is serving as the younger Flynn's legal counsel, said he couldn't comment
        on the matter.

        Flynn's status as a subject of the Russia investigation widens the publicly known scope of the probe.
        NBC News has reported that those under investigation have included the elder Flynn and former
        Trump campaign manager Paul Manafort. Others under scrutiny by special counsel Robert Mueller
        include Carter Page, a Trump campaign ally; Jared Kushner, the president's son-in-law and senior
        White House adviser; and the president's son, Donald Trump Jr.

        Trump Jr. may be called to appear before the Senate Judiciary committee sometime this fall. He,
        Kushner, Manafort and Page have all denied any collusion with Russia during the campaign.

        Ty Cobb, an attorney for President Trump, said that the younger Flynn's status as a subject of the
        probe "does not impact the White House to any extent with regard to its continuing cooperation with
        the special counsel."

        The elder Flynn's lawyer, Robert Kelner, declined to comment Tuesday when asked how his client
        responds to allegations of collusion with Russia. On Twitter, Michael G. Flynn appeared to call the
        report that he is a subject of the Russia probe a "#Nothingburger": "#FakeNews Media: 'We're done
        covering those "pesky hurricanes' right????...Back to Russia!' #Nothingburger."

        The president also has come under scrutiny for possible obstruction of justice and has denied
        colluding with Russia.

        The younger Flynn worked closely with his father, whose connections to foreign governments,
        including Russia and Turkey, have been a subject of federal and congressional investigations.

        Michael G. Flynn accompanied his father, for instance, on a trip to Moscow in December 201 5 for the
        elder Flynn to deliver a paid speech at a 1 0th anniversary celebration for the state-sponsored Russian
        television network RT. The younger Flynn can be seen in video from an associated event.

       https://www.nbcnews.com/news/us-news/mike-ﬂynn-s-son-subject-federal-russia-probe-n800741                1/3


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        The elder Flynn, a retired Army lieutenant general and a former director of the Defense Intelligence
        Agency, was seated at the same table as Russian President Vladimir Putin during the dinner. Records
        released by the House Oversight Committee show he was paid nearly $34,000 for his speech; RT
        also paid for Flynn and his son's airfare to Moscow and lodging at a luxury hotel from Dec. 9 to Dec.
        1 2.

        Flynn Intel Group also was paid $530,000 in 201 6 for work the Justice Department has said beneﬁted
        the government of Turkey. The elder Flynn did not register as a foreign lobbyist at the time, but did so
        retroactively this year. According to his ﬁling with the Justice Department, he was hired by a Turkish
        businessman to gather information about Fethullah Gülen, a Turkish cleric residing in Pennsylvania
        whom the Turkish government accuses of orchestrating an attempted coup there in July 201 6.

        Related: Obama Warned Trump Against Hiring Mike Flynn

        The elder Flynn was ﬁred as Trump's national security adviser in February after it became public that
        he had misled Vice President Mike Pence about his conversations with the Russian ambassador to
        the U.S.

        A former business associate of Michael Flynn's said the younger Flynn had a heavy hand in the day-
        to-day operations of Flynn Intel Group and served as his father's chief of staﬀ. Those responsibilities
        included attending meetings with his father and communicating with prospective clients, the former
        business associate said.

        Several legal experts with knowledge of the investigation have told NBC News they believe Mueller,
        following a classic prosecutorial playbook, is seeking to compel key players, including Flynn and
        Manafort, to tell what they know about any possible Trump campaign collusion with Russia. Mueller
        has brought onto his team a federal prosecutor known for convincing subjects to turn on associates.
        Any potential criminal liability for Michael G. Flynn could put added pressure on his father, these legal
        experts said.

        "Any time a family member is identiﬁed as a subject that does increase pressure," said Peter White, a
        former federal prosecutor. "In the typical parent-child relationship the last thing any parent would
        want is for their child to get in trouble for something they initiated."

        That pressure appeared to mount Wednesday, when House Democrats released information they said
        conﬁrmed that the elder Flynn omitted from his security clearance renewal application in 201 6 that he
        had traveled to the Middle East in 201 5 to meet with foreign leaders about a proposal to partner with
        Russia in a plan to build nuclear reactors in Saudi Arabia.

        In a letter to Flynn's former business partners who had turned over documents to Congress,
        Democratic Reps. Elijah Cummings of Maryland and Eliot Engel of New York also accuse Flynn of
        concealing the trip from background check investigators who interviewed him during that 201 6

       https://www.nbcnews.com/news/us-news/mike-ﬂynn-s-son-subject-federal-russia-probe-n800741               2/3


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        process. The congressmen, ranking members on the House Oversight and House Foreign Aﬀairs
        committees respectively, told the former business partners that because "it appears that General
        Flynn violated federal law" they are turning over their documents to Mueller.

        Related: Flynn, Manafort Are Key Figures in Russia Probe

        Peter Carr, the spokesman for Mueller, declined to comment. Kelner, the elder Flynn's lawyer, did not
        respond to a request for comment on the Cummings-Engel letter.

        The younger Flynn, 34, has a bachelor's degree from the University of North Carolina-Charlotte and
        an associate degree in golf course management. He is married, has one son and lives in Northern
        Virginia. He worked for a golf company and then a healthcare management ﬁrm between 2008 and
        201 5, and since 201 4 has worked for the Flynn Intel Group, according to LinkedIn. He was a
        registered Republican in Charlotte, N.C., from 2004 to 2008, according to public records.

        He was a controversial ﬁgure during the presidential campaign and during the Trump transition,
        known for writing inﬂammatory comments on Twitter and circulating conspiracy theories.

        He perpetuated a so-called "pizzagate" conspiracy theory that surfaced in the days before the
        November election alleging Democratic candidate Hillary Clinton had used the Comet Ping Pong
        pizzeria in Washington to run a child sex-traﬃcking operation. About a month later, in December
        201 6, a North Carolina man ﬁred gunshots in the pizzeria allegedly in response to the false
        "pizzagate" story. At the time, Flynn wrote on Twitter: "Until #Pizzagate proven to be false, it'll remain
        a story."

        During the Trump transition there were questions about whether Flynn had an oﬃcial role. He had a
        government transition email address and was said to be helping his father, who had been named
        national security adviser. But after the shooting at the "pizzagate" restaurant, Pence, who was in
        charge of the transition, said Flynn "has no involvement in the transition whatsoever."

        The younger Flynn continues to express political opinions on social media, tweeting in support of
        former Trump adviser Steve Bannon and tweeting criticism of Black Lives Matter.




       https://www.nbcnews.com/news/us-news/mike-ﬂynn-s-son-subject-federal-russia-probe-n800741                 3/3


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